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              EXHIBIT 5
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 1                       UNITED STATES DISTRICT COURT

 2                 NORTHERN DISTRICT OF CALIFORNIA

 3                         SAN FRANCISCO DIVISION

 4

 5   MARK SCHOBINGER, on behalf
     of himself and all others
 6   similarly situated,

 7                       Plaintiff,        Case No. 3:23-cv-03007-VC

 8                        v.

 9   TWITTER, INC. and X CORP.,

10                       Defendants.

11   ____________________________

12

13

14

15                         DEPOSITION OF MARK SCHOBINGER

16                                 July 15, 2024

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22

23

24   Siew G. Ung, CSR No. 13994, RPR, CSR
     1167678
25
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 1                       UNITED STATES DISTRICT COURT

 2                 NORTHERN DISTRICT OF CALIFORNIA

 3                         SAN FRANCISCO DIVISION

 4

 5   MARK SCHOBINGER, on behalf
     of himself and all others
 6   similarly situated,

 7                       Plaintiff,           Case No. 3:23-cv-03007-VC

 8                        v.

 9   TWITTER, INC. and X CORP.,

10                       Defendants.

11   ____________________________

12

13

14

15       REMOTE VIDEOTAPED DEPOSITION OF MARK SCHOBINGER

16

17                              July 15, 2024

18                                10:39 a.m.

19

20

21

22

23   REPORTED BY:

24   Siew G. Ung

25   CSR No. 13994, RPR, CSR



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                                MARK SCHOBINGER
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 1   APPEARANCES:

 2

 3        For MARK SCHOBINGER, ON BEHALF OF
          HIMSELF AND ALL OTHERS SIMILARLY SITUATED
 4
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 9

10        For TWITTER, INC. And X CORP.                       :

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20               X CORP.
                 MARY HANSBURY, ESQ. (in-house)
21               GEMMA CHUBB, ESQ. (in-house)

22          Also Present:

23               THERESA MAJERS, Videographer
                 MEGAN GROSSMAN, CSR, Substitute Reporter
24

25



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                               MARK SCHOBINGER
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 1                        INDEX TO EXAMINATIONS

 2

 3                       WITNESS: MARK SCHOBINGER

 4   EXAMINATION                                                          PAGE

 5   BY MR. MECKLEY                                                          6

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 1                           EXHIBITS MARKED

 2   MARKED                     DESCRIPTION                               PAGE

 3   Exhibit 1               December 26, 2018, Letter from                17

 4                           Leslie Berland to Mark Schobinger

 5                           (X-SCHOBINGER_000000001 to

 6                           X-SCHOBINGER_000000016)

 7

 8   Exhibit 2               Packet of Documents                           36

 9                           (TWITTER_ARB_00002184 to

10                           TWITTER_ARB_00002243)

11

12   Exhibit 3               Code of Business Conduct and                  39

13                           Ethics (TWITTER_ARB_000002173 to

14                           TWITTER_ARB_000002181)

15

16   Exhibit 4               January 1, 2022, 2022 Global                  50

17                           Discretionary Performance Bonus

18                           (X-SCHOBINGER_000000047,

19                           X-SCHOBINGER_000000048, and one

20                           unnumbered page)

21

22

23

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                               MARK SCHOBINGER
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 1                MONDAY, JULY 15, 2024, 10:39 A.M.

 2                                   ***

 3                THE VIDEOGRAPHER:      We are now on the

 4   record.     This begins media file number one in the

 5   deposition of Mark Schobinger.          We're taping this

 6   deposition remotely via Zoom in the matter of Mark

 7   Schobinger, et al. versus Twitter, Inc. and X -- X

 8   Corp., filed in the United States District Court,

 9   Northern District of California, San Francisco

10   Division.    Case number 3:23-CV-03007-VC.

11                Today is July 15th, 2024, and the time is

12   10:39 a.m.    I am Teresa Majers, the videographer

13   from Magna Legal Services, and the court reporter is

14   Siew Ung, also with Magna Legal Services.

15                Counsel, would you please introduce

16   yourself and who you represent starting with the

17   questioning attorney.

18                MR. MECKLEY:    This is Eric Meckley of

19   Morgan Lewis, and I represent the defendants.

20                MS. LISS-RIORDAN:      This is Shannon

21   Liss-Riordan.       I represent the plaintiff.

22                THE VIDEOGRAPHER:      And will the court

23   reporter plies swear in the witness.

24                           MARK SCHOBINGER,

25       having been first duly sworn, was examined and



                                         5

                               MARK SCHOBINGER
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 1                        testified as follows:

 2                       EXAMINATION BY MR. MECKLEY

 3          Q.   All right.     Mr. Schobinger, I introduced

 4   myself just now.      My name is Eric Meckley, and I

 5   represent Twitter, now, X Corp. in the lawsuit that

 6   you filed in federal court here in San Francisco.

 7               Today's your deposition.

 8               Have you ever been deposed before?

 9          A.   No.

10          Q.   Okay.    Have you ever given testimony under

11   oath before -- under penalty of personally?

12          A.   No.

13          Q.   All right.     So I'll give you a couple

14   instructions about the deposition today.

15               First, you understand that your testimony

16   today is under penalty of perjury, which means that

17   you are required to tell the truth.

18               Do you understand that?

19          A.   Yes.

20          Q.   And because this is being transcribed by

21   the court reporter, it's important that we use words

22   to answer questions, so no gestures or nonverbal

23   statements.       It's important to use words to answer.

24               Do you understand that?

25          A.   Yes.



                                         6

                               MARK SCHOBINGER
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 1   BY MR. MECKLEY:

 2          Q.   All right.     Have you had the document

 3   open, Mr. Schobinger, and are you able to review it?

 4          A.   Yes.

 5          Q.   Okay.    So can you take a look at page 2?

 6          A.   Okay.

 7          Q.   And this is a letter dated December 26th,

 8   2018, to you.       It's earmarked.

 9               Do you recognize this as your offer letter

10   at Twitter?

11          A.   Yes.

12          Q.   And did you start your employment with

13   Twitter in February 2019?

14          A.   Yes.

15          Q.   And your job title was director, total

16   rewards?

17          A.   Yes.

18          Q.   And your business title was executive and

19   incentive compensation director.

20               Is that right?

21          A.   Yes.

22          Q.   And when you began, did you report to

23   Dalana Brand?

24          A.   Yes.

25          Q.   What was her position?



                                         20

                               MARK SCHOBINGER
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 1          A.   VP of total rewards.

 2          Q.   And if you look at page 4 of your offer

 3   letter, you'll see at the bottom there's a

 4   signature.     And it looks like you signed

 5   electronically.

 6               Is that correct?

 7          A.   Yes.

 8          Q.   And immediately above your signature you

 9   represented:        I have read, understood, and accept

10   all the provisions of this offer put before me.

11               Do you see that?

12          A.   I'm sorry, what -- what are you referring

13   to that you wanted me to review?

14          Q.   Immediately above your signature, the

15   statement where it says:         By signing below, I

16   acknowledge and agree that I have read, understood,

17   and accept all of the provisions of this offer of

18   employment.

19               Do you see that?

20          A.   Yes.

21          Q.   And that was true, correct?

22          A.   Yes.

23          Q.   And you noted next to your signature that

24   you will opt out of arbitration per process.                 Do you

25   see that?



                                          21

                                 MARK SCHOBINGER
 Case 3:23-cv-03007-VC   Document 84-7   Filed 09/16/24   Page 11 of 108


 1          A.   Yes.

 2          Q.   And why did you do that?

 3               THE REPORTER:      Wait.     Opt out of what

 4   process?

 5               MR. MECKLEY:      Arbitration.

 6   BY MR. MECKLEY:

 7          Q.   Do you have my question or are you still

 8   thinking?

 9          A.   Oh, no.     I -- I thought we were pausing

10   for -- somebody else was saying something.

11               Can you repeat your question?

12          Q.   Yeah.    The question is:        Why did you opt

13   out of arbitration?

14          A.   That was a choice that was given to new

15   employees.

16          Q.   Yes.    And -- and why, in your choice, did

17   you elect to opt out of the arbitration?

18          A.   That's the choice I made.

19          Q.   Was there any reason behind it?

20          A.   Nothing other than that's the choice that

21   I made.

22          Q.   Had you ever been asked to participate in

23   arbitration with some prior employer?

24          A.   I'm not sure I understand the question.

25          Q.   Sure.    So with respect to Twitter, when



                                         22

                                MARK SCHOBINGER
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 1           Q.   Yes.     Did you have other direct reports?

 2           A.   At -- yes.

 3           Q.   Who were they?

 4           A.   I have forgot -- I have actually forgotten

 5   their names.        The -- the reason I wanted to go back

 6   is when Twitter did the mass layoff, there were a

 7   couple of comp team -- compensation team members

 8   from other teams that I inherited, so they would

 9   have been direct reports.            So I wanted to go back

10   and clarify that answer since precision seems to

11   matter.

12           Q.   Who were the other people that you

13   inherited?

14           A.   I -- I -- yeah, I forgot -- Cheryl -- and

15   I don't remember Cheryl's last name.               And then there

16   was one other individual.            I -- I don't remember the

17   name.

18           Q.   And were you promoted to senior director

19   of compensation in January of 2022?

20           A.   I was promoted, but I don't remember the

21   time frame.

22           Q.   Does that date sound about right as to

23   when you were promoted?

24           A.   If that is what you are saying -- if that

25   is what Twitter provided to you, then I would assume



                                           25

                                 MARK SCHOBINGER
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 1          Q.   In 2022.

 2          A.   To Parag Agrawal.

 3          Q.   And he was the CEO, correct?

 4          A.   Yes.

 5          Q.   And what were your duties after you were

 6   promoted to senior director of compensation?

 7          A.   They were the same.

 8          Q.   And what were those duties?

 9          A.   To deal with all matters pertaining to

10   executive compensation, supporting the compensation

11   committee of the board of directors, and then to

12   work on special projects as directed by management

13   or at the request of the comp committee.

14          Q.   And in addition to dealing with matters of

15   executive comp, were you responsible for dealing

16   with matters as to nonexecutive comp?

17          A.   Yes.    For specific -- for specific things.

18          Q.   And what were the specific things?

19          A.   The broad-based cash bonus plan and the --

20   the equity incentive plan.

21          Q.   Any other rank-and-file employee

22   compensation matters that you were responsible for?

23          A.   Are you asking for -- in a specific time

24   frame?

25          Q.   Yes.    After you were promoted to senior



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 1   director of compensation in 2022.

 2          A.   Yeah.    Then, no.      Just to what I already

 3   answered.

 4          Q.   And what's your current address?

 5               MS. LISS-RIORDAN:       Wait.     I'm really

 6   sorry.    My audio just went out for a second.              I

 7   didn't hear the last answer.

 8   BY MR. MECKLEY:

 9          Q.   Can you repeat your answer,

10   Mr. Schobinger?

11          A.   You asked me if my -- if I was responsible

12   for anything else in 2022, and I told you no, that

13   the -- it was the same responsibilities.

14          Q.   What is your current address?

15          A.   I'm sorry.     You -- I -- my current what?

16          Q.   Address.

17          A.   3337 Catalina Cove, Round Rock, Texas.

18          Q.   And during your employment with Twitter,

19   was that your same address?

20          A.   Yes.

21          Q.   And during your entire employment with

22   Twitter, you resided in Texas, correct?

23          A.   Yes.

24          Q.   And during that same period, you were

25   never a resident -- a resident of California,



                                         29

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 1   correct?

 2          A.   Correct.

 3          Q.   You had a work from home remote working

 4   agreement with Twitter.

 5               Isn't that true?

 6          A.   Yes.

 7          Q.   Could you refer back to the document we've

 8   marked as Exhibit 1 and look at the fifth page of

 9   the PDF.

10          A.   When you are referring to the page numbers

11   in the PDF, do you mean the -- the page number that

12   appears on the page or the -- the physical page

13   number volume?

14          Q.   Yeah.    That's a good question.

15               In this context, I'm referring to the

16   physical number of the PDF.

17          A.   Okay.    All right.

18          Q.   And do you see there that that's a

19   document entitled "Addendum to Offer Letter.                 Home

20   Office Work Arrangement."           Do you see that?

21          A.   Yes.

22          Q.   And this particular agreement allowed you

23   to work from your home in Round Rock, Texas,

24   correct?

25          A.   Yes.



                                          30

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 1          Q.   And the agreement also provided that if

 2   this arrangement ever ended, you had the option of

 3   performing your work at Twitter's office in Austin,

 4   Texas, isn't that right?

 5          A.   I don't think that would be right.

 6   Twitter did not have an office in Austin, Texas.                 It

 7   wouldn't have been possible.

 8          Q.   So if you look at the first paragraph of

 9   the document that is the one entitled "number one"

10   in the last sentence.

11          A.   Yes.

12          Q.   It states -- it states:          If, at that time

13   or any time during this trial period in the

14   company's sole discretion, the company determines

15   that this arrangement to be ended, you acknowledge

16   and agree that you will have the option to perform

17   your role at Twitter's office at Austin, Texas.

18               Do you see that?

19          A.   Yes.

20          Q.   And during your employment with Twitter,

21   did Twitter have an office in Austin, Texas?

22          A.   Not that I'm aware of.

23          Q.   Did you ever ask anyone, when you signed

24   this home office work arrangement, you know, why it

25   referred to an office in Texas if there wasn't one?



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 1          A.   I didn't.     That would be a question that

 2   you would have to ask Twitter.

 3          Q.   No, I'm not asking you if -- anything from

 4   Twitter.    I'm just asking:        Did you inquire as to

 5   anyone why it said this if there was no office?

 6          A.   No.

 7          Q.   Did your home office work arrangement ever

 8   end before you left Twitter?

 9          A.   No.

10          Q.   So you were allowed to work remotely

11   throughout the entirety of your employment with

12   Twitter.    Isn't that right?

13          A.   Yes.

14          Q.   After Elon Musk acquired the company in

15   late October 2022, you continued to work remotely.

16   Is that right?

17          A.   Yes.

18          Q.   And were you ever directed to report to a

19   physical office to work?

20          A.   I'm not sure how the -- can you elaborate

21   on what you mean by "directed"?

22          Q.   Sure.    So after Mr. Musk acquired Twitter,

23   were you ever instructed that you could no longer

24   work remotely, you had to report to a physical

25   office?



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 1          Q.   So even though as you described, Mr. Musk

 2   made, you know, threats, that in effect you didn't

 3   have to comply with any of the threats.              Is that

 4   right?

 5          A.   That's what I was led to believe, yes.

 6          Q.   And between the period of April and

 7   October 27 of 2022, did you ever physically come

 8   into Twitter's San Francisco offices?

 9          A.   Can you repeat the time frame?

10          Q.   April of 2022 through October 27th, 2022,

11   did you ever physically come into San Francisco to

12   Twitter's offices in the city?

13          A.   Not that I recall.

14          Q.   If you could, again, look at this home

15   office work arrangement we have.           Paragraph Number

16   5.

17               The second sentence, it states: "You are

18   required to comply with all Twitter employment

19   policies, practices and procedures including but not

20   limited to anti-harassment and discrimination

21   policies, the Code of Conduct, any applicable

22   Playbook or Work Rules, and the Employee Security

23   Handbook."

24               Do you see that?

25          A.   Yes.



                                         34

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 1          Q.   I don't know, since you are on an iPad,

 2   you said, whether you get like notifications or

 3   things like that that pop up.            But if -- if you do,

 4   it would be good to turn them off.

 5               So can you do that?

 6          A.   I'm not getting popups.

 7          Q.   Oh, good.     All right.

 8               So can you go back, please, and look at

 9   Exhibit 1 and specifically page -- the third page of

10   the PDF in your offer letter.

11          A.   Okay.

12          Q.   And you'll see that there's a heading

13   there, Number 7.      Performance Bonus Plan.

14               Do you see that?

15          A.   Yes.

16          Q.   And when you were hired at Twitter and you

17   got your offer letter, you saw that Twitter had a

18   discretionary performance bonus plan, correct?

19          A.   Yes.

20          Q.   And it -- it said that you may be eligible

21   to earn a discretionary performance bonus in

22   accordance with the company's discretionary

23   performance bonus plan as it may exist and/or be

24   amended from time to time.

25               Do you see that?



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                                MARK SCHOBINGER
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 1          A.   Yes.

 2          Q.   And as your offer letter described, you

 3   understood that Twitter had the discretion to decide

 4   whether to amend or discontinue the plan from time

 5   to time.

 6               Isn't that true?

 7          A.   No.

 8          Q.   That's not true?

 9          A.   Not the way you framed it, no.

10          Q.   Okay.    So if you look at the language, it

11   says that you are eligible to earn a bonus according

12   to the plan as it may exist and or be amended from

13   time to time.

14               Do you see that?

15          A.   Yes.

16          Q.   So you understood that the plan could be

17   amended from time to time?          Is that right?

18          A.   Based on this wording, yes.

19          Q.   And you understood it could cease to

20   exist, correct?

21          A.   That -- I'm sorry.        That it what?

22          Q.   Could cease to exist, correct?

23          A.   That it ceased to exist?

24          Q.   No.     My question is:      This language here

25   says that you could be eligible to earn a bonus in



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                                MARK SCHOBINGER
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 1   accordance with the plan as it may exist.

 2               Do you see that?

 3          A.   Yes.

 4          Q.   So you understood that the plan could, in

 5   fact, cease to exist as well.

 6               Isn't that true?

 7          A.   Yes.

 8          Q.   And you understood that the phrase

 9   "discretionary" means noncompulsory, not required?

10          A.   No, I would not characterize it that way.

11          Q.   I'm just asking for you to tell me your

12   understanding of the word "discretion."

13               What does the word "discretion" mean?

14          A.   Context matters, so I would need to under-

15   -- if you could elaborate on the context that you

16   are asking me to opine on, then I would be able to

17   do that.

18          Q.   Okay.    Well, let's just ask in the

19   general, you know, dictionary definition sense of

20   the word.     Discretionary means something that is not

21   compulsory or required.

22               Isn't that true?

23          A.   Yes.

24          Q.   Okay.    And in connection with your offer

25   letter in reference to this performance bonus plan,



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 1          A.   Yes.

 2               MR. MECKLEY:       We are going to mark another

 3   exhibit to the deposition.           This will be Exhibit

 4   Number 4.

 5                       (Whereupon, Exhibit 4 was marked for

 6                       identification.)

 7               THE WITNESS:       Okay.      I have it.

 8   BY MR. MECKLEY:

 9          Q.   All right.      So Exhibit 4 is a three-page

10   document entitled 2022 Global Discretionary

11   Performance Bonus.

12               Do you see that?

13          A.   Yes.

14          Q.   And have you seen this document before?

15          A.   I have.

16          Q.   And what is it?

17          A.   This is the -- in this case, the specific

18   case, this is the plan document for the fiscal year

19   '22 discretionary performance bonus.

20          Q.   And have you ever heard this referred to

21   as the -- the PBP performance bonus plan?

22          A.   Yes.

23          Q.   Okay.     If during the deposition, you or I

24   refer to the PBP or the bonus plan, you understand

25   we are referring to this document?



                                          50

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 1          A.   Yes.

 2          Q.   Okay.

 3               So did you draft any part of Exhibit 4?

 4          A.   I participated in a red-line review of it,

 5   yes.

 6          Q.   When you say a "red-line review," can you

 7   describe what you mean?

 8          A.   Yes.

 9          Q.   So --

10          A.   Are you wanting me to describe -- is

11   that -- are you wanting me to describe or are you

12   just asking:        Can I describe?

13          Q.   Fair point.       So now can you describe for

14   us what you mean?

15          A.   Yes.      So each year, this -- this document

16   would be updated, at a minimum, to reflect the new

17   plan year date.       And if the -- any of the changes to

18   the plan document -- the governance of it, those

19   would have been updated as well.            And red line, I'm

20   just simply referring to the document being opened

21   and tracked with changes.

22          Q.   And one of the things I'll flag here for

23   you, Mr. Schobinger, is during the deposition, I am

24   going to be asking you questions about

25   communications you may have had with people at



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 1          Q.   Is that accurate?

 2          A.   Yes.

 3          Q.   Was the performance bonus plan approved by

 4   the Twitter compensation committee?

 5          A.   Yes.

 6          Q.   And when did that occur?

 7          A.   Are you asking in the context of -- of the

 8   fiscal '22 PBP?

 9          Q.   Yes.

10          A.   My recollection is somewhere in the March

11   '22 time frame is likely when it would have been

12   fully approved.

13          Q.   And the -- the PBP was a form of incentive

14   compensation for Twitter employees.             Is that right?

15          A.   Yes.

16          Q.   Was it your understanding that any form of

17   incentive compensation for Twitter employees such as

18   the PBP had to be approved by the compensation

19   committee?

20          A.   Yes.

21          Q.   And who were the members of the

22   compensation committee in 2022?

23          A.   David Rosenblatt, Fayfay [phonetic], and I

24   forget the third one.

25          Q.   What was Fayfay's last name?



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 1           A.   I don't recall.

 2           Q.   And did that membership change at any

 3   point in 2022?

 4           A.   I don't recall.

 5           Q.   Who was on the compensation committee in

 6   2023?

 7           A.   There would not have been a compensation

 8   committee in 2023.

 9           Q.   And to your knowledge, why was that?

10           A.   I'm sorry.    I didn't hear the question.

11           Q.   I said:    To your knowledge, why was that?

12           A.   The company was acquired.

13           Q.   Exhibit 4, this document, was the PBP

14   document accessible to all Twitter employees?

15           A.   My recollection is yes.

16           Q.   How did employees have access to it?

17           A.   My recollection is it was put on a -- a

18   link on a Google -- a Google Drive, I believe, is

19   what I recollect.

20           Q.   Was there a link -- it was at

21   go/performancebonus?

22           A.   That sounds right, but I -- I don't --

23   that sounds right.

24           Q.   Were employees of Twitter expected to

25   review the PBP document?



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 1          A.   They were encouraged to review it.

 2          Q.   And did Twitter track in any way whether

 3   an employee had reviewed the PBP document?

 4          A.   I don't know.

 5          Q.   Did Twitter employees have to acknowledge

 6   their agreement to the terms and conditions of the

 7   PBP in any way?

 8          A.   Not that I'm aware of.

 9          Q.   Okay.    So if we could take a look at

10   the -- the documents, you'll see, on the first page

11   of the document, it says the plan year runs from

12   January 1 through December 31, 2022, unless

13   otherwise earlier changed, replaced, or terminated

14   by Twitter.

15               Do you see that?

16          A.   Yes.

17          Q.   And you would also see that the document

18   states that Twitter retains the full -- the full

19   discretion to interpret, amend, modify, terminate,

20   or revoke the plan and any individual PAF at its

21   sole discretion.

22               Do you see that?

23          A.   Is that further down?

24          Q.   It's the second paragraph from the bottom.

25          A.   Yes.



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 1          Q.   And you understood, based on the plan,

 2   that Twitter had the right to terminate or revoke

 3   the PBP at any time.       Isn't that true?

 4          A.   Yes.

 5          Q.   And can you take a look at the last

 6   paragraph on the first page of the PBP?

 7          A.   Okay.

 8          Q.   Where it says:      Subject to applicable law,

 9   eligible employees whose employment ends at any time

10   before the performance bonus payout date will not be

11   eligible for any performance bonus under the plan.

12               Do you see that?

13          A.   Yes.

14          Q.   So if an employee had their employment end

15   before the payout date, they wouldn't be eligible to

16   receive a bonus.

17               Is that correct?

18          A.   Correct.

19          Q.   And the bonus appointments were typically

20   made in March.      Is that correct?

21          A.   Yes.

22          Q.   Your bonus -- I think you got one for

23   2020, that was in -- paid in March.             Is that right?

24          A.   Yes.

25          Q.   And then you also got a bonus for 2021,



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 1   and that was paid in March as well, correct?

 2          A.    Yes.

 3          Q.    So if an employee, for example, had their

 4   employment end in January, they would not be

 5   eligible to receive a bonus, correct?

 6          A.    Correct.

 7          Q.    So through -- well, strike that.

 8                Do you know whether a bonus was ever paid

 9   in some month other than March?

10          A.    Clarifying question.        You're -- you

11   asked -- the questioning you are asking me are

12   within the context of solely the -- the bonus plan

13   and not any sort of other transaction.               Is that

14   accurate?

15          Q.    I'm asking whether you are aware of any

16   person receiving a performance bonus that was paid

17   in some month other than March?

18          A.    No, I'm not aware.

19          Q.    So continued employment through the

20   payment date was a condition of eligibility for the

21   bonus, is that right?

22          A.    So this is the nuance -- that's the

23   nuance.     You are asking me that in the context of

24   only the -- the -- the performance bonus plan,

25   correct?



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 1          Q.   Yes.

 2          A.   Yes.

 3          Q.   So if an employee quit or resigned they

 4   were no longer eligible for a bonus, correct?

 5          A.   Yes, that's correct.

 6          Q.   And if an employee was fired, they were no

 7   longer eligible for a bonus, correct?

 8          A.   There's nuance with that, Mr. Mecky- --

 9   Meckley.    I -- you know, and I -- there's nuance to

10   the way you are framing that question.

11          Q.   Okay.    Well, let's look back here at

12   the -- the document, Exhibit 4.

13               The last paragraph, it says:             "Subject to

14   applicable law, eligible employees whose employment

15   ends at any time."

16               Do you see that?

17          A.   Yes.

18          Q.   An employee's employment can end because

19   they are fired, right?

20          A.   Correct.     But there's different reasons

21   for being fired though.        So -- but that's what I

22   mean by it's nuanced.        I don't know if you are

23   asking me about a specific version of being fired or

24   just -- are you asking me in general, just within

25   the context of the bonus -- forget about any other



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 1               So if you are -- if you are agnostic of

 2   those other reasons and you are just talking about

 3   the performance bonus plan, then the answer to your

 4   question is -- is yes.        You have to be employed on

 5   the date that it was paid out to receive it.

 6          Q.   Yep.    I'm not asking about any other forms

 7   of compensation --

 8          A.   Okay.

 9          Q.   -- I'm just asking about performance

10   bonus.

11               Do you understand that?

12          A.   Yes.

13          Q.   In order to get any type of bonus payment

14   in connection with severance, an employee would have

15   to sign a general release of claim, wouldn't they?

16          A.   That is my understanding that that was one

17   of the conditions that had to be met to receive a

18   severance payment.

19          Q.   Right.    But to get a bonus payment, just a

20   bonus payment and you are still employed, you don't

21   need to sign a release of claims, correct?

22          A.   Correct.

23          Q.   And it's your understanding that if an

24   employee did not sign a release of claims, then the

25   employee would not be eligible to get any bonus in



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 1                       CERTIFICATE OF REPORTER

 2

 3         I, Siew Ung, a Certified Shorthand Reporter, do

 4   hereby certify:

 5         That prior to being examined, the witness in the

 6   foregoing proceedings was by me duly sworn to testify to

 7   the truth, the whole truth, and nothing but the truth;

 8         That said proceedings were transcribed into

 9   typewriting from the video recording under my direction

10   and supervision;

11         I further certify that I am neither counsel for,

12   nor related to, any party to said proceedings, nor in

13   any way interested in the outcome thereof.

14         In witness whereof, I have hereunto subscribed my

15   name.

16

17

18   7/26/2024

19

20

21

22

23   __________________
     Siew Ung
24   CSR No. 13994, RPR, CSR

25



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1                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
2                       SAN FRANCISCO DIVISION
3        MARK SCHOBINGER, on behalf )
         of himself and all others   )
4        similarly situated,         )
                                     )
5                Plaintiff,          )
                                     ) Case No. 3:23-cv-03007-VC
6        v.                          )
                                     )
7        TWITTER, INC. And X CORP., )
                                     )
 8               Defendants.         )
 9
10
11                   ORAL AND VIDEOTAPED DEPOSITION OF
12                      MARK SCHOBINGER - VOLUME 2
13                        Friday, August 2, 2024
14
15
                ORAL AND VIDEOTAPED DEPOSITION OF MARK
16    SCHOBINGER - VOLUME 2, produced as a witness at the
      instance of the Defendants, Twitter, Inc. and X Corp.,
17    and duly sworn, was taken in the above-styled and
      numbered cause on the 2nd of August, 2024, from
18    9:17 a.m. to 4:30 p.m., before Sharon Ross, Certified
      Shorthand Reporter in and for the State of Texas,
19    reported by computerized stenotype machine, at Quinn
      Emanuel Urguhart & Sullivan, LLP, 300 West 6th Street,
20    Suite 2010, Austin, Texas 78701, pursuant to the Federal
      Rules of Civil Procedure and/or any provisions stated on
21    the record or attached hereto.
22
23
      Reported by:
24    SHARON ROSS, Texas CSR #1961,
      Hawaii CSR #432, RMR, CRR, CRC
25    Realtime Systems Administrator

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1                                APPEARANCES                                 08:29
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1                                  PROCEEDINGS                                 09:17

2                      THE VIDEOGRAPHER:     Here begins Volume 2 in           09:17

3     the deposition of Mark Schobinger in the matter of Mark                  09:17

4     Schobinger, et al. versus Twitter, Inc. and X Corp.,                     09:17

5     filed in the United States District Court, Northern                      09:17

6     District of California, San Francisco Division.              The         09:17

7     case number is 3:23-cv-03007-VC.                                         09:17

8                      We are located at 300 West 6th Street in                09:17

9     Austin, Texas.     Today's date is August 2nd, 2024.            The      09:17

10    time is 9:17 a.m.                                                        09:17

11                     My name is Peter Zierlein here with our                 09:17

12    court reporter, Sharon Ross; and we're here with                         09:17

13    Veritext.                                                                09:17

14                     At this time will counsel please identify               09:17

15    themselves for the record, after which the court                         09:17

16    reporter will swear in the witness?                                      09:18

17                     MR. MECKLEY:     Eric Meckley for defendant.            09:18

18                     MR. MEHES:     Adam Mehes for X.                        09:18

19                     MS. LISS-RIORDAN:     Shannon Liss-Riordan for          09:18

20    the plaintiff, Mark Schobinger.                                          09:18

21                     THE REPORTER:     Sir, could you --                     09:18

22                     MS. BARRETT:     Online you have Jennifer               09:18

23    Barrett for respondents.                                                 09:18

24                     MS. CHOE:     And Julia Choe also for                   09:18

25    respondents.                                                             09:18

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1                        THE REPORTER:    Sir, could you raise your            09:18

2     right hand, please?                                                      09:18

3                        (Witness sworn.)                                      09:18

4                              MARK SCHOBINGER,                                09:18

5     having been first duly sworn, testified as follows:                      09:18

6                                   EXAMINATION                                09:18

7     BY MR. MECKLEY:                                                          09:18

8           Q.   All right.     Mr. Schobinger, this is the second             09:18

9     day of your deposition.         I'm not going to give you all            09:18

10    the instructions that I gave you the first day.                          09:18

11                       I'll just remind you that the testimony               09:18

12    you're giving today is under penalty of perjury which                    09:18

13    means you have to tell the truth.                                        09:18

14                       Do you understand that?                               09:18

15          A.   Yes.                                                          09:18

16          Q.   Okay.     And, also, if at any point today you                09:18

17    have a question about any of my questions and need                       09:18

18    clarification, please ask me.                                            09:19

19          A.   Okay.                                                         09:19

20          Q.   Will you do that?                                             09:19

21          A.   Yes.                                                          09:19

22          Q.   Okay.     Great.    So at your first day of the               09:19

23    deposition, we did this thing where we marked exhibits                   09:19

24    and looked at them.       We're going to start with that                 09:19

25    again.                                                                   09:19

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1           A.   Okay.                                                          09:19

2           Q.   So this will be Exhibit 5.                                     09:19

3                        (Schobinger Exhibit 5 marked.)                         09:19

4           Q.   (BY MR. MECKLEY)       So this document is titled --           09:19

5     very small at the top it says "Birdhouse" and then                        09:19

6     "Performance Bonus Plan."                                                 09:19

7                        And let me know when you're ready to answer            09:19

8     questions.                                                                09:19

9           A.   Okay.     I'm ready.                                           09:19

10          Q.   So do you recognize the text of this document,                 09:19

11    Mr. Schobinger?                                                           09:20

12          A.   Yes, it looks familiar.                                        09:20

13          Q.   And did you draft any portion of this?                         09:20

14          A.   Yes, I would have participated in drafting it.                 09:20

15          Q.   Okay.     And this document, which appears to be               09:20

16    on the Birdhouse, was that something that was published                   09:20

17    to employees?                                                             09:20

18          A.   Yes.                                                           09:20

19          Q.   And was Birdhouse like an intranet site that                   09:20

20    employees could go to to get information?                                 09:20

21          A.   That's correct.                                                09:20

22          Q.   Okay.     Do you know what portions of this that               09:20

23    you actually drafted?                                                     09:20

24          A.   Let me -- let me read through it real quick.                   09:20

25          Q.   Sure.                                                          09:20

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1           A.   My recollection, it would have been just                      09:20

2     reviewing the metrics that were funding the plan, if                     09:21

3     there were changes to that or any of the weightings, so                  09:21

4     things of that nature.                                                   09:21

5           Q.   Okay.     And I know we previously looked at the              09:21

6     actual PBP document itself, right?                                       09:21

7           A.   Yes.                                                          09:21

8           Q.   Was the intent of, you know, something like                   09:21

9     this published on Birdhouse to give employees just                       09:21

10    another, you know, avenue to get information about their                 09:21

11    performance bonus plan separate from the PBP document?                   09:22

12          A.   Yes.                                                          09:22

13          Q.   Okay.     And on the first page of this under                 09:22

14    "Eligibility," the second point No. 2, it says, "Be                      09:22

15    actively employed in good standing on the Performance                    09:22

16    Bonus Payout Date."                                                      09:22

17                       Do you see that?                                      09:22

18          A.   I do.                                                         09:22

19          Q.   And was that one of the conditions of                         09:22

20    eligibility to get paid this bonus?                                      09:22

21          A.   Not necessarily.                                              09:22

22          Q.   Okay.     So did you, when you looked at this                 09:22

23    document before and reviewed it, try to edit that point                  09:22

24    to say that that wasn't necessarily an eligibility term?                 09:22

25          A.   No.                                                           09:22

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1             Q.   Okay.     So the document the employees got told                09:22

2     them that they needed to be an employee in good standing                     09:22

3     to be eligible for a bonus, correct?                                         09:22

4             A.   This document, yes.                                             09:22

5             Q.   Okay.     Now, take a took at Page 2 and at the                 09:22

6     bottom; and I apologize that this is really small.                  I        09:23

7     tried to make it bigger, but I just couldn't.                                09:23

8                          So under "PBP Payout," it says, "PBP payout             09:23

9     happens in the Q1 of the following plan year."                               09:23

10                         Do you see that?                                        09:23

11            A.   I do.                                                           09:23

12            Q.   And then below that it says, "If the                            09:23

13    performance bonus plan is funded, bonus payments will be                     09:23

14    made in the first quarter following the plan year."                          09:23

15                         Do you see that?                                        09:23

16            A.   I do.                                                           09:23

17            Q.   So when the ref -- when it references "if the                   09:23

18    bonus plan is funded," was that conditional in that the                      09:23

19    bonus plan had to get funded before payouts would be                         09:23

20    made?                                                                        09:23

21            A.   I think that that would be a directional sort                   09:23

22    of characterization of it.                                                   09:23

23            Q.   And when you say a "directional                                 09:23

24    characterization," what do you mean?                                         09:23

25            A.   What I mean by that is there were two bonus                     09:23

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1     way that it's written.                                                    09:25

2           Q.    But the employee general population bonus plan                09:25

3     you referenced, it could not be funded at all; isn't                      09:25

4     that true?                                                                09:25

5           A.    No, that's not true.                                          09:25

6           Q.    Oh, okay.     Well, then let's take a look at                 09:25

7     Exhibit 4 which is something that we looked at                            09:25

8     previously in day -- I think Day One of your deposition.                  09:25

9                         I'm not going to re-mark it since we                  09:25

10    already marked it, but I'll give you a copy of it to                      09:25

11    review.                                                                   09:25

12                        So we previously looked at this.          This is     09:25

13    Exhibit 4.     If you could, take a look at Page 2.                       09:25

14          A.    (Witness complies.)                                           09:25

15          Q.    About midway -- well, the second heading from                 09:25

16    the top, it says, "Funding of the Performance Bonus                       09:26

17    Plan."     Do you see that?                                               09:26

18          A.    I do.                                                         09:26

19          Q.    All right.     And then there's one, two -- three             09:26

20    paragraphs under that.         There's a paragraph that starts            09:26

21    "If the Twitter group."         Do you see that?                          09:26

22          A.    I do.                                                         09:26

23          Q.    And in the last sentence of that paragraph, it                09:26

24    says, quote, "Notwithstanding the foregoing and subject                   09:26

25    to applicable law, solely in the event of unforeseen and                  09:26

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1     extraordinary circumstances, as determined by the                        09:26

2     Compensation Committee, the Compensation Committee                       09:26

3     reserves the right in its discretion to determine a                      09:26

4     performance bonus pool amount based on an alternative                    09:26

5     formula and/or elect not to fund any performance bonus                   09:26

6     pool for the plan year."                                                 09:26

7                        Do you see that?                                      09:26

8           A.   I do.                                                         09:26

9           Q.   So is it your understanding that the Comp                     09:26

10    Committee referenced the right to elect not to fund any                  09:26

11    performance bonus pool if it so determined, correct?                     09:26

12          A.   That's how I would interpret that, yes.                       09:27

13          Q.   Okay.     So the prior document we looked at where            09:27

14    it says "if the bonus pool was funded," it was                           09:27

15    conditional on the Compensation Committee electing to                    09:27

16    fund the bonus pool; isn't that true?                                    09:27

17          A.   Correct.                                                      09:27

18          Q.   Let's take a look at this next document.                      09:27

19                       (Schobinger Exhibit 6 marked.)                        09:27

20                       THE REPORTER:     No. 6.                              09:27

21          Q.   (BY MR. MECKLEY)        All right.   So Exhibit 6 is a        09:27

22    document entitled "Compensation @ Twitter, Total Granted                 09:27

23    Compensation."                                                           09:27

24                       Do you recognize this document,                       09:28

25    Mr. Schobinger?                                                          09:28

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1             Q.   And when you said "the two," two quarterly town             09:41

2     halls?                                                                   09:41

3             A.   Correct.                                                    09:41

4             Q.   Okay.   Do you remember when those happened                 09:41

5     roughly?                                                                 09:41

6             A.   I think the Q1 town hall happened roughly early             09:41

7     April, roughly.         The Q2 would have been July-August time          09:41

8     frame.                                                                   09:41

9             Q.   So the first one you said, early April, that                09:41

10    was prior to the merger agreement being signed; is that                  09:41

11    right?                                                                   09:42

12            A.   Correct, I believe.                                         09:42

13            Q.   All right.     And then the Q2, you said occurred           09:42

14    in --                                                                    09:42

15            A.   Roughly July and August time frame.           I don't       09:42

16    know the specific date.                                                  09:42

17            Q.   Okay.   Were those called something?          Did they      09:42

18    have a title in Twitter, these town halls?                               09:42

19            A.   They probably did.     I just -- I generically              09:42

20    refer to it as a town hall.         They probably had a formal           09:42

21    meeting title.                                                           09:42

22            Q.   Does "all hands" sound familiar?                            09:42

23            A.   It does sound familiar, yes.                                09:42

24            Q.   Okay.   And focusing on the all-hands meetings              09:42

25    that occurred after the merger agreement was signed --                   09:42

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1     well, actually, I don't want to -- let's just say both                     09:42

2     of the ones you remember, the Q1 and the Q2 all-hands.                     09:43

3                          Did you attend one or both of those?                  09:43

4             A.   Both of them.                                                 09:43

5             Q.   Okay.     And do you know how you attended?                   09:43

6             A.   Virtually.                                                    09:43

7             Q.   Virtually.     Okay.    Was that just a link or               09:43

8     something that you would click on and access?                              09:43

9             A.   Yes.     There would be a meeting invite with a               09:43

10    link.                                                                      09:43

11            Q.   And was it video as well as audio?                            09:43

12            A.   Yes.                                                          09:43

13            Q.   Do you know if those were recorded?                           09:43

14            A.   All of the all-hands meetings were recorded.                  09:43

15            Q.   And do you know if attendance was optional?                   09:43

16            A.   It was optional.                                              09:43

17            Q.   Okay.     So the -- and was it accessible to                  09:43

18    employees, you know, throughout the world?                                 09:43

19            A.   Yes.                                                          09:43

20            Q.   And none of those employees were required to                  09:44

21    attend the town halls, correct?                                            09:44

22            A.   Correct.                                                      09:44

23            Q.   And do you know who specifically attended?                    09:44

24            A.   I would not know that.                                        09:44

25            Q.   And you personally didn't track attendance,                   09:44

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1     correct?                                                                  09:44

2             A.   Correct.                                                     09:44

3             Q.   And do you know one way or another whether                   09:44

4     Twitter tracked attendance at the all-hands town hall                     09:44

5     meetings?                                                                 09:44

6             A.   I don't know.                                                09:44

7             Q.   So, as you sit here today, you're not sure                   09:44

8     which Twitter employees may have heard some, all, or                      09:44

9     none of any of these quarterly town hall all-hands                        09:44

10    meetings; is that true?                                                   09:44

11            A.   Yes.                                                         09:44

12            Q.   All right.     So let me -- oh, strike that.                 09:44

13                        Did you -- did you review or listen to any            09:44

14    of the videos that have been produced in your -- in this                  09:44

15    case?                                                                     09:45

16            A.   At any time?                                                 09:45

17            Q.   No.    I mean since they've been produced in this            09:45

18    case.                                                                     09:45

19            A.   No.                                                          09:45

20            Q.   And after the town halls happened, before you                09:45

21    left the company, did you ever go back and like listen                    09:45

22    or view any of the recorded town halls?                                   09:45

23            A.   No.                                                          09:45

24            Q.   Did you ever make any notes of anything that                 09:45

25    you were listening to in any of the town halls?                           09:45

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1           A.    No.                                                          09:45

2           Q.    All right.    So, if you could, can you tell me,             09:45

3     in the first all-hands town hall from April, what                        09:45

4     Mr. Segal said, if anything, about payment of bonuses?                   09:45

5           A.    My recollection was he and Dalana just gave a                09:45

6     general update to employees that the bonus was trending                  09:46

7     at 100 percent.                                                          09:46

8                       I don't think that they would have had                 09:46

9     enough information -- too early in the fiscal year to do                 09:46

10    anything different -- is my recollection.                                09:46

11          Q.    Anything else you recall either Dalana or Ned                09:46

12    saying in that first all-hands about the bonus?                          09:46

13          A.    Not that I recall.                                           09:46

14          Q.    And, now, in the second all-hands town hall                  09:46

15    that you recall attending sometime in July-August, what                  09:46

16    did Mr. Segal say, if anything, about a bonus?                           09:46

17          A.    He did not give a -- like sort of the customary              09:46

18    update as to how the performance of the company was                      09:46

19    trending.                                                                09:46

20                      And he cited -- I recollect he cited the               09:46

21    ongoing acquisition as the reason why but that he                        09:46

22    would -- there would be a follow-up and they would share                 09:47

23    additional information, which he did.                                    09:47

24                      I don't recall the specific time frame.           It   09:47

25    was probably a few weeks after the all-hands meeting.                    09:47

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1     What was said about the bonus in the key talent meeting?                09:51

2           A.    A couple of things.     One was the -- for the              09:51

3     general population, that there was comfort in that the                  09:51

4     plan had a floor, a minimum funding amount, and that                    09:51

5     there were ongoing conversations with Elon's team to                    09:51

6     potentially ask for additional relief where they could                  09:51

7     increase that amount but that -- my recollection is --                  09:51

8     well, I know that we were told "no" on that -- is what I                09:51

9     recollect.                                                              09:52

10          Q.    Anything else you recall being said about                   09:52

11    bonuses in these, you know, periodic key talent                         09:52

12    meetings?                                                               09:52

13          A.    No.                                                         09:52

14          Q.    And you seem to recall something about people               09:52

15    being told or the key talent being told there were                      09:52

16    ongoing conversations with Elon's team about increasing                 09:52

17    the funding floor?                                                      09:52

18          A.    There were a number of things that Parag had --             09:52

19    was seeking with Elon's team to retain the employee                     09:52

20    population.                                                             09:52

21                      So bonus relief was one.      There were some         09:52

22    other things that I recall that were being sought but                   09:52

23    they were told "no" on -- on all of them.                               09:52

24          Q.    Was it your understanding that Parag was                    09:52

25    seeking these things because they needed the buyer's                    09:53

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1     consent to do certain actions regarding compensation?                      09:53

2             A.   I believe that to be the reason why they                      09:53

3     were -- why, you know, they were engaging with Elon's                      09:53

4     team.                                                                      09:53

5             Q.   And one of those items they wanted was to                     09:53

6     increase the funding floor, correct?                                       09:53

7             A.   That's my understanding.                                      09:53

8             Q.   And your understanding, also, was that that was               09:53

9     denied by the buyer?                                                       09:53

10            A.   Yes.                                                          09:53

11            Q.   What other items was Parag or the, you know,                  09:53

12    Twitter exec team seeking from Elon's team regarding                       09:53

13    comp?                                                                      09:53

14            A.   A retention program, a program -- sort of a                   09:53

15    change-in-control program for top talent.              I think those       09:54

16    were the three things that I -- those are the three                        09:54

17    things I remember.         There -- there could have been some             09:54

18    other things, but I don't recall what they were.                           09:54

19            Q.   Okay.     And was the retention program for top               09:54

20    talent -- was that approved or denied by --                                09:54

21            A.   Denied.                                                       09:54

22            Q.   -- the buyer?                                                 09:54

23            A.   Denied.                                                       09:54

24            Q.   And the change-of-control program for top                     09:54

25    talent, was that approved or denied by the buyer?                          09:54

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1     question.                                                                 09:56

2                         So did Mr. Segal or anyone at Twitter ever            09:56

3     tell employees that if they were terminated prior to the                  09:56

4     normal bonus payout date, they would still get a                          09:56

5     performance bonus?                                                        09:56

6           A.    No, not that I recall.                                        09:56

7           Q.    Okay.     And did Mr. Segal or anyone from Twitter            09:56

8     ever tell an employee that if they were disciplined or                    09:56

9     subject to written counseling prior to the normal bonus                   09:56

10    payout date in March, they'd still get paid a bonus?                      09:56

11          A.    Not that I recall.                                            09:56

12          Q.    Did Mr. Segal or anyone at Twitter ever tell                  09:56

13    Twitter employees that they'd be paid a bonus even if                     09:56

14    the PBP was terminated or revoked by Twitter?                             09:56

15          A.    I -- I would say no.       I don't -- I don't think           09:56

16    I fully understand that -- that question the way that                     09:57

17    you phrase it but it -- are you suggesting like -- maybe                  09:57

18    if you could reask the question.           Let me....                     09:57

19          Q.    Sure.     I'm happy to.                                       09:57

20                        Did Mr. Segal or anyone at Twitter ever               09:57

21    verbally tell employees that even if the PBP was                          09:57

22    terminated or revoked, they would still get paid a                        09:57

23    bonus?                                                                    09:57

24          A.    No, I don't recall.                                           09:57

25          Q.    Okay.     Did Mr. Segal or anyone at Twitter ever             09:57

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1     verbally tell employees that they get paid a bonus even                   09:57

2     if the PBP was not funded by Twitter?                                     09:57

3           A.   Not in the way that you just phrased it.                       09:57

4           Q.   So let me try a different phrasing.                            09:57

5                        Did Mr. Siegel or anyone at Twitter say:               09:57

6     If the Comp Committee elects not to fund the PBP, you                     09:57

7     would still get paid a bonus?                                             09:58

8           A.   I don't recall if he ever said such a thing.                   09:58

9           Q.   Okay.     Did Mr. Segal or anyone else at Twitter              09:58

10    ever tell employees that they would get paid a bonus                      09:58

11    separate and independent from any of the terms or                         09:58

12    conditions of the PBP?                                                    09:58

13          A.   No.     He -- in fact, it was -- that's exactly                09:58

14    the update that he was giving in the all-hands -- is                      09:58

15    that employees actually would receive a bonus.                            09:58

16          Q.   Under the terms of the --                                      09:58

17          A.   Under the terms of the plan.                                   09:58

18          Q.   Okay.                                                          09:58

19          A.   Correct.                                                       09:58

20          Q.   And did Mr. Segal or anyone else at Twitter                    09:58

21    tell employees that they'd get paid a bonus separate and                  09:58

22    apart from the PBP?                                                       09:59

23          A.   Not that I'm aware of.                                         09:59

24          Q.   You understood that the performance bonus had                  09:59

25    two elements.       One was a company portion; the other was              09:59

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1     plan document?                                                          10:02

2           A.   Correct.     It's my recollection that he                    10:02

3     communicated to employees that the bonus would fund at                  10:02

4     50 percent.                                                             10:02

5           Q.   All right.     Did he reference at all the                   10:02

6     discretionary language in the plan or not?                              10:02

7           A.   Not that I recollect.                                        10:02

8           Q.   Okay.   And at that Q2 all-hands, your                       10:02

9     recollection is he was referring to the plan funding at                 10:02

10    50 percent?                                                             10:03

11          A.   Correct.                                                     10:03

12          Q.   All right.     Did Mr. Segal or anyone else at               10:03

13    Twitter ever tell employees that the performance bonus                  10:03

14    plan was being changed in any way?                                      10:03

15          A.   Not that I recollect.                                        10:03

16          Q.   Okay.   Did he ever tell employees that it was               10:03

17    being, you know, modified or amended in any way?                        10:03

18          A.   Not that I recollect, no.                                    10:03

19          Q.   And it was your understanding that if there was              10:03

20    a change to the compensation policy, that had been on                   10:03

21    the consent of the buyer, correct?                                      10:03

22          A.   That's what I understood to be accurate.                     10:03

23          Q.   Were you aware of the buyer giving original,                 10:03

24    you know, 1.0 management any leeway or concessions with                 10:03

25    regard to the bonus?                                                    10:04

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1           A.   If the -- if the buyer gave any concessions?                   10:04

2           Q.   Yeah.                                                          10:04

3           A.   I -- I would not have been involved in the                     10:04

4     discussion.      So I -- I have no recollection of that.                  10:04

5           Q.   But you didn't hear about that happening?                      10:04

6           A.   Correct.                                                       10:04

7           Q.   Okay.     And were you aware of the Compensation               10:04

8     Committee, again, from April through end of October '22,                  10:04

9     making any changes, modifications to the bonus plan?                      10:04

10          A.   Not changes or modifications but affirming the                 10:04

11    funding of the plan.                                                      10:04

12          Q.   And what specifically are you referring to with                10:04

13    respect to that?                                                          10:04

14          A.   My recollection is Sean Edgett, the general                    10:04

15    counsel --                                                                10:05

16          Q.   Can I pause you for a second?         Is this a                10:05

17    communication that is broadly to a bunch of people or is                  10:05

18    it -- because he's an attorney.          Is it more limited?              10:05

19          A.   Not -- it's not broadly.        It would have been to          10:05

20    the Comp Committee.                                                       10:05

21          Q.   Was this at a meeting of the Compensation                      10:05

22    Committee?                                                                10:05

23          A.   It was done electronically.                                    10:05

24          Q.   Well, was it a virtual meeting?                                10:05

25          A.   No.     It was a -- what I would call a unanimous              10:05

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1           Q.   Was that your understanding that that was                      10:08

2     accurate at that time?                                                    10:08

3           A.   That's what -- yeah, I -- that's what I                        10:08

4     understand to be accurate, yes.                                           10:08

5           Q.   Okay.     And you'll see it says, "absent any                  10:08

6     adjustment, we would announce the accrual is now at the                   10:08

7     floor."                                                                   10:08

8                        Do you see that?                                       10:08

9           A.   I do.                                                          10:08

10          Q.   I know you didn't write this, but what was your                10:08

11    understanding of the phrase "accrual is now at the                        10:08

12    floor"?                                                                   10:08

13          A.   Well, I think that's -- it's a financial term.                 10:08

14    So there's a couple ways that I would interpret that.                     10:09

15                       One is that finance is adjusting on the                10:09

16    books the amount of money for the general population --                   10:09

17    well, actually for both because they're referencing the                   10:09

18    general population and staff.                                             10:09

19                       So they're just updating the amount of                 10:09

20    money that they're holding on the books for the bonuses.                  10:09

21                       And then the implication to this would have            10:09

22    then been the follow-on communication to employees                        10:09

23    with -- consistent with what they would do every --                       10:09

24    every quarter at the all-hands meeting to give employees                  10:09

25    an update on where the bonus plan is funding.                             10:09

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1                          And when I say "bonus plan," they only ever            10:09

2     specifically talked about the general population plan at                    10:09

3     those all-hands.         The staff meeting, they -- that wasn't             10:09

4     a topic of conversation in those broad -- broad                             10:09

5     meetings.                                                                   10:09

6             Q.   Okay.     Are you a CPA?                                       10:09

7             A.   I am not.                                                      10:10

8             Q.   Are you -- do you consider yourself an                         10:10

9     accountant even if you're not a CPA?                                        10:10

10            A.   Well, I've worked in the compensation field for                10:10

11    15-plus years.         So I feel like I can sort of navigate                10:10

12    around and understand conceptually financial terms, yes.                    10:10

13            Q.   Have you ever had a job or a title or position                 10:10

14    that was accountant?                                                        10:10

15            A.   No.                                                            10:10

16            Q.   Okay.     So with respect to "accrual," I think                10:10

17    you said that's an accounting term; is that right?                          10:10

18            A.   Well, I'm taking it to mean an accounting term.                10:10

19            Q.   Okay.     You're not sure with respect to this                 10:10

20    document, I mean?                                                           10:10

21            A.   Sean would have to answer what he meant by                     10:10

22    that.                                                                       10:10

23            Q.   Okay.     Take a look at the second paragraph here             10:10

24    in Exhibit 7.                                                               10:10

25                         There's a description of the bonus payment             10:10

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1     how I read it, that they're giving an alternative                           10:12

2     perspective on how they would allocate the funded bonus                     10:12

3     pool.                                                                       10:12

4             Q.   Okay.     Because the last part of that sentence               10:12

5     says, quote, "allowing differentiation, paying top                          10:12

6     performers as much as a full bonus and others 50 percent                    10:12

7     or less."                                                                   10:12

8                          Do you see that?                                       10:12

9             A.   I do.                                                          10:12

10            Q.   So it sounds like there's really two separate                  10:12

11    components.         One is funding, and the other is allocation             10:13

12    of the bonus; is that right?                                                10:13

13            A.   Yes.                                                           10:13

14            Q.   Was it your understanding that the pool could                  10:13

15    be funded at the floor of 50 percent, but an individual                     10:13

16    employee might not get paid 50 percent of their target                      10:13

17    bonus based on the allocation?                                              10:13

18            A.   Yes.                                                           10:13

19            Q.   Okay.     So the allocation is determined by the               10:13

20    manager's perspective on that individual employee's                         10:13

21    performance; is that right?                                                 10:13

22            A.   To some degree, yes.       And there is a -- there             10:13

23    is a mathematical answer to what you're really asking me                    10:13

24    on the allocation side, if that's what you're trying to                     10:13

25    get at.                                                                     10:13

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1           Q.    I'm just trying to understand:          If the pool            10:13

2     gets funded at 50 percent, that doesn't automatically                      10:13

3     mean that an individual employee is going to get 50                        10:14

4     percent of their target because, based on performance,                     10:14

5     they could get more, they could get less.             Is that              10:14

6     accurate?                                                                  10:14

7           A.    That's accurate.                                               10:14

8           Q.    Okay.     Now, you're referring to math.          What's       10:14

9     the math you're referring to in the allocation                             10:14

10    component?                                                                 10:14

11          A.    Well, I'm not going to try to decipher what                    10:14

12    Sean was suggesting here as an alternative but the --                      10:14

13    the funding -- once you get past the funding, you move                     10:14

14    into the allocation.                                                       10:14

15                        You had asked me previously what that was;             10:14

16    and I told you it was 50 percent company performance, 50                   10:14

17    percent individual performance.                                            10:14

18                        So each of those two things could go                   10:14

19    from -- in theory, could go from zero to 200 percent.                      10:14

20    So if you -- on the employee performance side,                             10:14

21    theoretically if you zero that out because they were a                     10:14

22    poor performer -- so that part's zero, and now you're                      10:14

23    left with 50 percent on the company side.                                  10:15

24                        That's not going to flex zero to 200                   10:15

25    because you already -- we already have established the                     10:15

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1     Mr. Segal spoke.                                                            10:43

2             A.   (Witness nods head.)                                           10:43

3             Q.   Okay?     And I want to see if this is consistent              10:43

4     with your recollection, that he said to the group that,                     10:43

5     you know, the company typically shares an update on the                     10:43

6     bonus accrual every quarter and that they didn't share                      10:43

7     that for this quarter because they don't have an update                     10:43

8     right then because of the acquisition and issues around                     10:43

9     that.                                                                       10:43

10                         Is that consistent with what you recall?               10:43

11            A.   Yes.                                                           10:43

12            Q.   And that he said, when we do have an update, we                10:43

13    will share it.         And then he recognized that that wasn't              10:44

14    necessarily satisfying for people.            Is that your                  10:44

15    recollection?                                                               10:44

16            A.   Yes.                                                           10:44

17            Q.   Okay.     And then prior to that July meeting,                 10:44

18    there wasn't anything that he said specifically about                       10:44

19    bonuses, you know, after the merger had been signed.                  Is    10:44

20    that true?                                                                  10:44

21            A.   Prior to July?                                                 10:44

22            Q.   Yeah, between merger signing and this meeting                  10:44

23    in July that we just talked about.                                          10:44

24            A.   No, not that I recall.                                         10:44

25            Q.   Okay.     You mentioned that there were periodic               10:44

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1     meetings of sort of a smaller group of employees called                    10:44

2     key talent.      Do you know whether those meetings were                   10:44

3     recorded?                                                                  10:44

4             A.   I don't know if they were re -- were recorded                 10:44

5     or not.                                                                    10:45

6             Q.   Okay.    And then after the July all-hands town               10:45

7     hall where Mr. Segal said he couldn't provide an update,                   10:45

8     your recollection is the next time that there was any                      10:45

9     type of update, it was via an email in the August time                     10:45

10    frame; is that right?                                                      10:45

11            A.   Yeah.    Well, there for sure was an email.           I       10:45

12    don't -- there could have been another town hall and I                     10:45

13    don't -- I don't recall specifically but I -- the email,                   10:45

14    I do.                                                                      10:45

15            Q.   Okay.    Do you know whether, separate from the               10:45

16    all employee town hall all-hands meetings, that there                      10:45

17    were specific finance all-hands meetings?                                  10:45

18            A.   Each division or group would have all-hands                   10:46

19    meetings.      So it would not surprise me if there was a                  10:46

20    finance all-hands.                                                         10:46

21            Q.   I see.    Were you part of the finance group for              10:46

22    these all-hands meetings?                                                  10:46

23            A.   No, I was not.                                                10:46

24            Q.   Okay.    What was your group considered?                      10:46

25            A.   HR or people team.                                            10:46

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1           Q.   Or total rewards?                                              10:46

2           A.   Total -- yeah.      Well, total rewards as a part              10:46

3     of the HR organization.                                                   10:46

4           Q.   Okay.     So you wouldn't attend -- to the extent              10:46

5     finance had all-hands, you didn't attend those?                           10:46

6           A.   No.                                                            10:46

7           Q.   Okay.     Let's have this marked next.                         10:46

8                        (Schobinger Exhibit 8 marked.)                         10:46

9                        THE REPORTER:     No. 8.                               10:46

10          Q.   (BY MR. MECKLEY)        All right.   Exhibit 8 is a            10:46

11    series of emails.       The one most recent chronologically               10:47

12    is August 19, 2022, from Ned Segal to team@Twitter; and                   10:47

13    then there's an attachment called "2022 PBP accrual:                      10:47

14    Tweep FAQ, August 2022."                                                  10:47

15          A.   Okay.                                                          10:47

16          Q.   So have you seen this before?                                  10:47

17          A.   It looks familiar.                                             10:47

18          Q.   Okay.     And team@Twitter.com, you -- that would              10:47

19    have been something that you were included on as a                        10:47

20    recipient; is that right?                                                 10:47

21          A.   Yes.                                                           10:47

22          Q.   All right.     Did you track whether any other                 10:47

23    employees at team@Twitter.com read this email?                            10:47

24          A.   No, not personally, no.                                        10:48

25          Q.   All right.     Do you know whether the company                 10:48

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1     tracked whether people had read this email?                                 10:48

2             A.   I wouldn't know.                                               10:48

3             Q.   All right.     So the first part of this says --               10:48

4     Mr. Segal says, "Due to deal-related matters, we did not                    10:48

5     yet have a complete answer in July around PBP accrual;                      10:48

6     but we are now able to provide more clarity."                               10:48

7                          And then that sentence ends -- or excuse               10:48

8     me -- paragraph ends, quote, "Based on our Q2                               10:48

9     performance, the 2022 total bonus pool is now tracking                      10:48

10    to 50 percent."                                                             10:48

11                         Do you see that?                                       10:48

12            A.   I do.                                                          10:48

13            Q.   All right.     And that was just based on Q2                   10:48

14    performance, as he said, correct?                                           10:48

15            A.   As a point in time, yes.                                       10:48

16            Q.   When did Twitter's Q2 end?                                     10:48

17            A.   Well, if I recall correctly, Twitter's fiscal                  10:49

18    year is a calendar year.          So Q2 would have been end of              10:49

19    June.                                                                       10:49

20            Q.   Okay.     So his statement doesn't reflect any                 10:49

21    performance for Q3 or Q4, right?                                            10:49

22            A.   No.                                                            10:49

23            Q.   And how he refers to it is the "bonus pool is                  10:49

24    now tracking."         Will you agree that that's sort of a                 10:49

25    statement as of that time, August 19, 2022?                                 10:49

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1           A.   Correct.     And employees would have -- would                 10:49

2     have interpreted that to mean that they would receive 50                  10:49

3     percent of their target bonus.                                            10:49

4           Q.   Okay.     Well, I'm asking just whether you                    10:49

5     understood that that was now tracking to mean now, as of                  10:49

6     August 19, 2022.                                                          10:49

7           A.   Yes.                                                           10:50

8           Q.   Okay.     And then there were these FAQs attached.             10:50

9     Do you see that?                                                          10:50

10          A.   I do.                                                          10:50

11          Q.   Did you draft any portion of these FAQs?                       10:50

12          A.   The sound -- if I can skim through it real                     10:50

13    quick and see if I recognize....                                          10:50

14                       I don't recall.                                        10:50

15          Q.   All right.     Did you -- separate from actually               10:50

16    writing any portion, did anyone ask you to provide input                  10:50

17    as to these PBP accrual FAQs?                                             10:50

18          A.   Not that I recall.                                             10:51

19          Q.   All right.     First page of the FAQs, it says,                10:51

20    "Would the board and/or the buyer consider some relief                    10:51

21    on or changes to the bonus plan given the extraordinary                   10:51

22    circumstances we're facing?"                                              10:51

23                       And it says, "That is something that the               10:51

24    board and the management team have looked at."                            10:51

25                       Is it your understanding that's true?                  10:51

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1           Q.    -- and 15?                                                     11:04

2           A.    -- here's how I would answer your question:              I     11:04

3     don't know of a single employee who attended the                           11:04

4     all-hands meetings in person or watched it remotely or                     11:04

5     watched a recording of it -- I don't know of a single                      11:04

6     employee who ever believed that they would not get a                       11:04

7     bonus.     That's how I would answer your question.                        11:04

8           Q.    But you haven't talked with a single employee                  11:04

9     about that, correct?                                                       11:04

10          A.    Correct.                                                       11:04

11                        MR. MECKLEY:     All right.    Let's have this         11:04

12    marked next.                                                               11:04

13                        (Schobinger Exhibit 11 marked.)                        11:04

14                        THE REPORTER:     No. 11.                              11:04

15          Q.    (BY MR. MECKLEY)        All right.    Exhibit 11 is a          11:04

16    series of messages, appear to be between you and someone                   11:04

17    named Eric LaPorte on August 22 of 2022.                                   11:04

18          A.    Okay.                                                          11:05

19          Q.    All right.     So who's Eric LaPorte?                          11:05

20          A.    I believe he was one of our recruiters.                        11:05

21          Q.    And Exhibit 11 represents direct messages.              You    11:05

22    were writing to him, and he was writing back to you?                       11:05

23          A.    Okay.                                                          11:05

24          Q.    I'm asking:     Is that accurate?                              11:05

25          A.    I -- I don't know where this came from but                     11:05

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1     of our bonus plan; but you would have to ask him that                      11:07

2     question.                                                                  11:07

3           Q.    So, as you sit here today, you don't ever have                 11:07

4     a recollection of ever telling Mr. LaPorte he's wrong in                   11:07

5     his statement that the bonuses are never guaranteed?                       11:07

6           A.    Not in this thread, no.                                        11:07

7           Q.    Or ever?                                                       11:07

8           A.    No.     I wouldn't -- like, again, if you're                   11:07

9     asking me if I've ever had a conversation with Eric                        11:07

10    around the construct of our bonus plan, I'm pretty sure                    11:07

11    I probably did.                                                            11:07

12          Q.    Yeah.     I'm not asking if you had a conversation             11:08

13    about a construct.        I'm asking if you told him, at any               11:08

14    point after he told you "I know that our bonus is never                    11:08

15    guaranteed," that he was incorrect and, in fact, the                       11:08

16    bonus is guaranteed?                                                       11:08

17          A.    Yeah, I can't -- I don't recollect.                            11:08

18          Q.    All right.     Let's look at this next.                        11:08

19                        (Schobinger Exhibit 12 marked.)                        11:08

20                        THE REPORTER:     No. 12.                              11:08

21          Q.    (BY MR. MECKLEY)        All right.   Exhibit 12                11:08

22    appears to be a direct message chain between you and                       11:08

23    Courtney McMillian on October 19, 2022.                                    11:08

24          A.    Okay.                                                          11:09

25          Q.    And at this point Ms. McMillian was your direct                11:09

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1     this is now October -- why are you saying it's in draft                   11:10

2     in redline or are you referring to something else?                        11:10

3           A.   I'm referring to this document.                                11:10

4           Q.   Yeah.     That's the thing that was approved by                11:10

5     the Comp Committee back in March of 2022.                                 11:10

6           A.   No, this is not.      This is a -- this is just                11:10

7     sort of an internal document that describes the -- how                    11:10

8     the plan works.                                                           11:10

9                        What the committee approved was the actual             11:10

10    funding metrics.       That's what they would have approved.              11:10

11                       And this document is just taking those and             11:10

12    conveying some information to an employee.            So this             11:10

13    document, early in the year, was redlined to reflect                      11:10

14    that; but somebody forgot to click "accept the changes."                  11:10

15                       So that's what I was simply calling out                11:11

16    when Courtney was asking -- when she sent this document                   11:11

17    and asked:    Is this the current document?                               11:11

18                       Yes, that is the current document.          It's       11:11

19    just somebody forgot to click "accept changes."                           11:11

20          Q.   All right.     So the document was approved by the             11:11

21    plan, the PBP, for 2022, which is Exhibit 4 -- approved                   11:11

22    by the Comp Committee?                                                    11:11

23          A.   Correct.                                                       11:11

24          Q.   Okay.     So then the next message, you say here               11:11

25    on October 19 to Ms. McMillian, quote, "The PBP plan                      11:11

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1     does not specifically contemplate a change of control.                    11:11

2     So it is really unclear to me if the bonus plan would                     11:11

3     permit paying out."                                                       11:11

4                        Do you see that?                                       11:11

5           A.   I do.                                                          11:11

6           Q.   Why was it unclear to you that the bonus plan                  11:11

7     would permit paying out?                                                  11:11

8           A.   Because it wasn't written specifically into                    11:11

9     this -- into this Exhibit 4 document and there was some                   11:11

10    conversations with corporate counsel to interpret that,                   11:11

11    specifically Kevin Cope.                                                  11:12

12          Q.   Well, I don't want you to talk about                           11:12

13    communications with counsel.                                              11:12

14          A.   But you're -- you're asking me --                              11:12

15          Q.   No, I'm asking you not to say anything you                     11:12

16    communicated --                                                           11:12

17          A.   I'm not asking --                                              11:12

18          Q.   -- with counsel.                                               11:12

19          A.   Correct, and I'm not.        I'm just -- I'm                   11:12

20    answering your question around if you're asking me why                    11:12

21    would I make a comment about the plan not contemplating                   11:12

22    it, it's because it wasn't specifically written into                      11:12

23    this plan document.                                                       11:12

24          Q.   Right.     So what you're referring to here is                 11:12

25    because the PBP plan doesn't specifically reference a                     11:12

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1     change of control, you're unclear whether the bonus plan                11:12

2     would permit a payout of the bonus following a change of                11:12

3     control; is that correct?                                               11:12

4           A.   Correct.                                                     11:12

5           Q.   All right.     And then you say a little bit after           11:12

6     that, "I think one could make an argument similar"                      11:12

7     what -- "to what has been used in other matters ...                     11:12

8     where the buyer would have to consent first."                           11:12

9                      Do you see that?                                       11:13

10          A.   No.   Let me -- oh, I do see that.                           11:13

11          Q.   All right.     And when you're saying a similar              11:13

12    argument, you're referring to where you have to ask the                 11:13

13    buyer for consent to make changes, correct?                             11:13

14          A.   Yes, except it's redacted.       So I don't actually         11:13

15    know what the example that was -- has been redacted is                  11:13

16    referring to.                                                           11:13

17          Q.   But what you're referring to is situations                   11:13

18    where the buyer has to consent to changes; is that                      11:13

19    right?                                                                  11:13

20          A.   Correct.     What I'm referring to is we -- we               11:13

21    were -- we were told that if anything that we were doing                11:14

22    was new, that we would have to seek consent.                            11:14

23                     And so for the PBP, it was just simply --              11:14

24    it was a question around because the -- does the plan                   11:14

25    contemplate a CR -- a CIC event or is it implied?              We       11:14

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1     had to get guidance as to how one might interpret that.                   11:14

2           Q.   Okay.     All right.     Let's look at the next.               11:14

3                        (Schobinger Exhibit 13 marked.)                        11:14

4                        THE REPORTER:     No. 13.                              11:14

5           Q.   (BY MR. MECKLEY)        All right.   Exhibit 13 is a           11:14

6     series of direct messages through Slack between you and                   11:14

7     Katie Marcotte on November 30, 2022.                                      11:14

8           A.   Okay.                                                          11:15

9           Q.   At that time who was Katie Marcotte?                           11:15

10          A.   She would have been the de facto leader of HR.                 11:15

11          Q.   And did you report to her?                                     11:15

12          A.   No.     Well, indirectly, yes.                                 11:15

13          Q.   All right.     And why do you say "indirectly"?                11:15

14          A.   I think when Elon came in and a lot of the                     11:15

15    staff was laid off, like if you went and you looked at                    11:15

16    an org structure, I think, like, we were probably all                     11:15

17    reporting in to Elon.                                                     11:15

18          Q.   All right.     Okay.     So if you could take a look           11:15

19    at your second message here to Ms. Marcotte on                            11:15

20    November 30th, you wrote her, "The logical outcome                        11:16

21    suggests we would not pay out FY 2022 bonuses due to the                  11:16

22    current environment and the severe underperformance" of                   11:16

23    the "plan."                                                               11:16

24                       Do you see that?                                       11:16

25          A.   I do.                                                          11:16

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1           Q.   And when you wrote "FY22," you're referring to                 11:16

2     the PBP bonuses under the plan; is that right?                            11:16

3           A.   Correct.                                                       11:16

4           Q.   Okay.     And then you write, "So you know, that               11:16

5     is what I recommended reflect (when we were still                         11:16

6     public).     The plan permitted the cmte to exercise that                 11:16

7     discretion."                                                              11:16

8                        Do you see that?                                       11:16

9           A.   I do.                                                          11:16

10          Q.   And does "cmte" refer to the Compensation                      11:16

11    Committee?                                                                11:16

12          A.   It does.                                                       11:16

13          Q.   And this indicates that you previously                         11:16

14    recommended to the Compensation Committee that bonuses                    11:16

15    not be paid to employees; is that correct?                                11:16

16          A.   No.                                                            11:16

17          Q.   All right.     So when you say "The logical                    11:16

18    outcome suggests we would not pay out FY22 bonuses" and                   11:17

19    then you say "that is what I recommended," what are you                   11:17

20    referring to?                                                             11:17

21          A.   I was asked for an opinion by Dalana Brand --                  11:17

22    just natural conversations when she would seek input                      11:17

23    from her leadership team -- as to, you know, what do you                  11:17

24    think?                                                                    11:17

25                       So there's what I think; and there's the               11:17

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1     reality, which I wasn't the decision-maker here.                        11:17

2           Q.    All right.                                                  11:17

3           A.    The decision-maker made the decision to fund it             11:17

4     at 50 percent.     So my opinion is actually irrelevant.                11:17

5           Q.    So when you say, "that is what I recommended                11:17

6     previously," you said you recommended that to Dalana                    11:17

7     Brand.     Is that the person to whom you recommended it?               11:17

8           A.    Correct.                                                    11:17

9           Q.    In addition to Dalana Brand, did you recommend              11:17

10    to anyone else that the company not pay out fiscal year                 11:17

11    '22 bonuses?                                                            11:17

12          A.    No, it just would have been with her and her                11:17

13    leadership team.                                                        11:18

14          Q.    So when you say "with her and her leadership                11:18

15    team," who else on her leadership team did you recommend                11:18

16    that the company not pay out --                                         11:18

17          A.    Well, Courtney --                                           11:18

18          Q.    -- 2022 bonuses?                                            11:18

19          A.    Courtney McMillian would have been there.           I       11:18

20    don't remember her -- all of her staff that was involved                11:18

21    but I -- what I recollect is she asked for an opinion,                  11:18

22    and I gave an opinion.                                                  11:18

23          Q.    I'm just asking:     In the context of when you             11:18

24    made your recommendation not to pay out 2022 bonuses, it                11:18

25    was to Ms. Brand, Ms. McMillian; and whom else was                      11:18

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1     present for that?                                                          11:18

2            A.   I don't recall others.                                         11:18

3            Q.   But there were others.        You just don't remember          11:18

4     who?                                                                       11:18

5            A.   Correct.                                                       11:18

6            Q.   Okay.     Your sentence here says, "The plan                   11:18

7     permitted the" committee "to exercise that discretion."                    11:18

8                         And when you say "exercise that                        11:18

9     discretion," are you referring to the discretion not to                    11:18

10    pay bonuses?                                                               11:18

11           A.   No.     I'm referring to the discretion that if                11:18

12    they wanted to change the funding of the plan; but,                        11:19

13    again, they didn't.        In fact, they affirmed funding it               11:19

14    at 50 percent when Sean Edgett ask them to do that very                    11:19

15    thing.                                                                     11:19

16           Q.   Right.     So I'm just asking about the                        11:19

17    discretion.       Is the discretion that you're referring to               11:19

18    in a sense to decide not to fund the plan?                                 11:19

19           A.   Correct.                                                       11:19

20           Q.   Okay.     You also wrote here to Ms. Marcotte,                 11:19

21    quote, "Elon is the sole director at this point and it                     11:19

22    really comes down to him and only him to make the final                    11:19

23    decision."                                                                 11:19

24                        Do you see that?                                       11:19

25           A.   I do.                                                          11:19

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1     was simply letting him know that we needed to get                         11:26

2     disposition on the -- on the payout of the bonus, to                      11:26

3     which he simply responded that he didn't -- he didn't                     11:26

4     have an issue with paying a bonus if it was earned.                       11:26

5           Q.   Okay.     And just so I'm sure, Mr. Schobinger --              11:26

6     because I don't want to get hung up on any words or                       11:26

7     anything -- did you, during this January 5th meeting                      11:26

8     with Mr. Musk, communicate in any way whatsoever your                     11:26

9     belief that bonuses shouldn't be paid because of                          11:27

10    whatever reason, including that the company had                           11:27

11    underperformed?                                                           11:27

12          A.   Not that I recall, no.                                         11:27

13          Q.   Okay.     Do you know whether any other people who             11:27

14    attended that meeting have stated that as the                             11:27

15    recommendation you made, that you should -- that bonuses                  11:27

16    should not be paid?                                                       11:27

17          A.   I -- I don't know.       I mean, it's -- it's                  11:27

18    possible based on, you know, some of the previous                         11:27

19    communications where when I was asked for an opinion                      11:27

20    from Dalana Brand, I may have referenced that; but I                      11:27

21    don't know.                                                               11:27

22                       You would have to -- you would have to ask             11:27

23    whoever else attended.                                                    11:27

24          Q.   Uh-huh.     Did you take any notes during that                 11:27

25    meeting --                                                                11:27

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1           Q.   And did you communicate with anyone on Elon's                  11:32

2     leadership team regarding severance to employees?                         11:32

3           A.   Yes.                                                           11:32

4           Q.   And who was that?                                              11:32

5           A.   Lindsay Chapman.                                               11:32

6           Q.   Okay.     Anyone else?                                         11:32

7           A.   And it would have been, when she left, Walter                  11:32

8     Yu -- Walter Gilbert.                                                     11:32

9           Q.   Okay.     Anyone else?                                         11:32

10          A.   Not that I recall, no.                                         11:32

11                       (Schobinger Exhibit 15 marked.)                        11:33

12                       THE REPORTER:     No. 15.                              11:33

13          Q.   (BY MR. MECKLEY)        So Exhibit 15,                         11:33

14    Mr. Schobinger, is a December 1st, 2022, email and                        11:33

15    attachments entitled "FY22 PBP follow up," appears to be                  11:33

16    from you to a variety of people.                                          11:34

17                       Do you see that?                                       11:34

18          A.   I do.                                                          11:34

19          Q.   And is this an email you sent to these people                  11:34

20    here listed?                                                              11:34

21          A.   It appears to be, yes.                                         11:34

22          Q.   And the attachment was your update regarding                   11:34

23    various aspects of the PBP funding?                                       11:34

24          A.   Yes.                                                           11:34

25          Q.   And if you could look at the first page of your                11:34

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1     attachments, there's a series of bullet points there.                     11:34

2           A.   (Witness complies.)                                            11:34

3           Q.   And the fourth bullet point from the top says,                 11:34

4     quote, "Employee payout varies depending on individual                    11:34

5     performance," period, close quote.                                        11:34

6                        Do you see that?                                       11:34

7           A.   I do.                                                          11:34

8           Q.   And was that true?                                             11:34

9           A.   Yes.                                                           11:34

10          Q.   All right.                                                     11:34

11                       (Schobinger Exhibit 16 marked.)                        11:35

12                       THE REPORTER:     No. 16.                              11:35

13          Q.   (BY MR. MECKLEY)        All right.   Exhibit 16                11:35

14    appears to be an email from you to Lindsay Chapman dated                  11:35

15    January 6th, 2023, entitled "more on the bonus                            11:35

16    conversation for tonight."                                                11:35

17          A.   Okay.                                                          11:35

18          Q.   And is this something that you sent to                         11:35

19    Ms. Chapman?                                                              11:35

20          A.   It appears to be, yes.                                         11:35

21          Q.   All right.     In the second sentence, it says,                11:35

22    "Assuming he agrees to fund the PBP pool."                                11:35

23                       Do you see that?                                       11:35

24          A.   I do.                                                          11:35

25          Q.   And by "he," you're referring to Elon?                         11:35

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1             A.   Correct.                                                       11:35

2             Q.   Right?     And one of the first decision points                11:35

3     was whether or not to fund the PBP pool, correct?                           11:36

4             A.   Correct.                                                       11:36

5             Q.   Okay.     And then, if that happened, you go on to             11:36

6     say, "the challenge we have is the ability to reasonably                    11:36

7     gauge employee performance for the fiscal year because                      11:36

8     of the massive changes to the workforce."                                   11:36

9                          Do you see that?                                       11:36

10            A.   Yes.                                                           11:36

11            Q.   And that was a true statement you were telling                 11:36

12    Ms. Chapman, correct?                                                       11:36

13            A.   Well, I think what I was telling Lindsay was a                 11:36

14    few things.                                                                 11:36

15                         One is there's the -- the funding of the               11:36

16    pool which from my perspective -- I mean, this is just                      11:36

17    comprehensive and sort of going through the mechanics of                    11:36

18    the plan.                                                                   11:36

19                         So there's the funding element.           From my      11:36

20    perspective, that felt like that decision was already                       11:36

21    made.                                                                       11:36

22                         Then there's the allocation side of it, and            11:36

23    I was letting her know that that's likely going to be a                     11:36

24    challenge because of the suspension of the performance                      11:36

25    management process and the -- sort of the gutting of the                    11:36

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1     organization, that it would be difficult for leaders to                 11:37

2     assess employees' performance.                                          11:37

3                     So that was the update that I was giving                11:37

4     Lindsay.                                                                11:37

5                     (Schobinger Exhibit 17 marked.)                         11:37

6                     THE REPORTER:     No. 17.                               11:37

7           Q.   (BY MR. MECKLEY)     All right.     Exhibit 17,              11:37

8     Mr. Schobinger, is a series of emails from a variety of                 11:37

9     people but including yourself and Lindsay Chapman.                      11:37

10                    And there's one on the first page here                  11:37

11    that's dated January 5th, 2023, from you to Lindsay.                    11:37

12                    My first question is:        Is this an email           11:37

13    that you sent to Ms. Chapman?                                           11:38

14          A.   It appears to be, yes.                                       11:38

15          Q.   The -- what looks to be the third paragraph                  11:38

16    down, you write to her, "The second item concerns the FY                11:38

17    2022 (calendar year 2022) bonus plan you may have heard                 11:38

18    referred to as the PBP.       For context, the design of our            11:38

19    PBP plan includes a funding floor of 50 percent.             I had      11:38

20    shared with Nate previously that Elon as the sole                       11:38

21    director is the only one who can approve to pay it out                  11:38

22    or exercise discretion to not pay.          Katie had raised            11:38

23    this with Elon in mid-December, but he wanted to hold on                11:38

24    making any final decisions."                                            11:38

25                    Do you see that?                                        11:38

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1           A.   I do.                                                          11:38

2           Q.   All right.     And you are saying here Elon was                11:38

3     the sole director, and that's director of the company?                    11:38

4           A.   Well, he got rid of -- when he purchased the                   11:39

5     company, he got rid of the board of directors.               So it        11:39

6     was our understanding he was the only, quote/unquote,                     11:39

7     "officer" of the company.                                                 11:39

8           Q.   Right.     And --                                              11:39

9           A.   That's what this is referring to.                              11:39

10          Q.   Okay.     And you're saying that Elon was the one              11:39

11    who -- the only one who could approve to pay out bonuses                  11:39

12    or exercise discretion to not pay.                                        11:39

13                       Do you see that?                                       11:39

14          A.   I do.                                                          11:39

15          Q.   And that's discretion that he had the ability                  11:39

16    to exercise, correct?                                                     11:39

17          A.   Correct.                                                       11:39

18          Q.   And it goes on.      The next sentence says, "I                11:39

19    think the first decision we need to land on is if we                      11:39

20    intend to fund and pay it out."                                           11:39

21                       Do you see that?                                       11:39

22          A.   Yes.                                                           11:39

23          Q.   All right.     So as of this date, there was no                11:39

24    decision about funding, correct?                                          11:40

25          A.   Well, there was what we -- it's what every                     11:40

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1     employee was being told up to this point in time.                       11:40

2     Whether that constitutes an official decision or not,                   11:40

3     that's what they were being told; but for the purpose of                11:40

4     us executing, we actually need something in writing to                  11:40

5     tell us go do it.                                                       11:40

6           Q.   Well, you wrote, "the first decision we need to              11:40

7     land on is if we intend to fund."                                       11:40

8                     So if you're telling Ms. Chapman that                   11:40

9     that's a decision that needs to be made, wouldn't you                   11:40

10    agree that the decision hasn't been made at that point?                 11:40

11          A.   I don't -- no.    I think from my perspective,               11:40

12    you know, if you go back to the January 6th meeting with                11:40

13    Elon when he said if the bonus has been earned, then we                 11:40

14    should pay it, to me, that sort of constitutes go forth.                11:40

15    He made the decision.                                                   11:41

16                    Whether he understood the mechanics of the              11:41

17    plan or not, I don't know.       You'd have to speak to him,            11:41

18    but it sort of feels like that decision was made.                       11:41

19                    I was just being comprehensive in the                   11:41

20    thought process here behind here's the mechanics of what                11:41

21    we've got to sort of go through.                                        11:41

22          Q.   All right.    Well, let's take a look at                     11:41

23    something else, then.                                                   11:41

24                    (Schobinger Exhibit 18 marked.)                         11:41

25                    THE REPORTER:     No. 18.                               11:41

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1           Q.   (BY MR. MECKLEY)     Okay.    So Exhibit 18 is a --           11:41

2     an email from you, Mr. Schobinger, to a variety of                       11:41

3     people, including Lindsay Chapman and others, January 19                 11:41

4     of 2023, "Subject:      FY22 PBP follow-up."                             11:41

5                       So, did you send this email to Lindsay                 11:42

6     Chapman and these other folks?                                           11:42

7           A.   Yes.                                                          11:42

8           Q.   All right.    And you'll say -- you say -- excuse             11:42

9     me -- "I updated the FY22 PBP recommendation to address                  11:42

10    concerns raised when we met last week.          Essentially I            11:42

11    have restructured the approach to solve for two                          11:42

12    decisions that are needed."                                              11:42

13                      The first bullet point:      "Do we fund a             11:42

14    bonus pool?"                                                             11:42

15                      Second bullet point:     "And if we do fund,           11:42

16    how should we calculate?"                                                11:42

17                      So this is January 19, Mr. Schobinger.           You   11:42

18    would agree at that point there was no decision yet as                   11:42

19    to whether to fund a bonus pool, correct?                                11:42

20          A.   No, I would not agree with that because, again,               11:42

21    back into early January, Elon had made his comment that                  11:42

22    he was -- actually if I back further up, back in                         11:42

23    August when the company was still public, the board --                   11:42

24    specifically the Compensation Committee -- agreed to                     11:43

25    fund at 50 percent.      All the employees were being told               11:43

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1     that.                                                                       11:43

2                          Fast-forward to early January.          Elon           11:43

3     himself said:         If the bonus was earned, then it should               11:43

4     be paid.                                                                    11:43

5                          This is simply -- we can't act on something            11:43

6     unless we get in writing from him saying go forth and do                    11:43

7     it.     So we were still turning through that.            How do we         11:43

8     get him to answer that question?                                            11:43

9             Q.   So your next sentence in Exhibit 18 says,                      11:43

10    quote, "To be clear, Elon owns answering the first                          11:43

11    question.      He can answer it in one of two ways:                         11:43

12    Exercise discretion and not fund or allow the plan to                       11:43

13    fund at 50 percent," period, close quote.                                   11:43

14                         Do you see that?                                       11:43

15            A.   I do.                                                          11:43

16            Q.   All right.     So you wrote that to Lindsay                    11:43

17    Chapman and all these other folks.                                          11:43

18                         Why didn't you tell them that the decision             11:43

19    had already been made and Elon was going to fund the                        11:43

20    plan, if that was true?                                                     11:43

21            A.   We did -- we did have that conversation.               So      11:43

22    everyone on this list was completely aware of that.                         11:44

23                         This is just being -- it's a                           11:44

24    comprehensive -- what we were asked to do was develop                       11:44

25    the talk track for how are we going to execute on this?                     11:44

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1                      So this is just a comprehensive document               11:44

2     that's sort of outlining the process that you go through                11:44

3     it.                                                                     11:44

4                      What we needed from Elon was a simple email            11:44

5     saying:    I approve.     Pay this out.                                 11:44

6                      But in the contrary, what he was doing was             11:44

7     saying, on the one hand, I don't have any issue with                    11:44

8     paying it if it was earned but, on the other hand, the                  11:44

9     direction:     Pause paying anything.                                   11:44

10                     So that's the dilemma we were all in.                  11:44

11          Q.   All right.     But you say "He can answer it in              11:44

12    one of two ways."                                                       11:44

13                     Why didn't you say that he has already                 11:44

14    answered it?                                                            11:44

15          A.   I was just being comprehensive.                              11:44

16          Q.   So you believe it's comprehensive to say that                11:44

17    there's a decision that he can answer as opposed to                     11:44

18    saying:    He already decided this.        It's going to be             11:45

19    funded?                                                                 11:45

20          A.   Again, I was just being comprehensive to this                11:45

21    group of people to help them understand the mechanics of                11:45

22    the bonus plan.                                                         11:45

23          Q.   And in your earlier sentence, you say, "I have               11:45

24    restructured the approach for solve for two decisions                   11:45

25    that are needed:       Do we fund a bonus pool?"                        11:45

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1                      Why was there a decision needed around "Do             11:45

2     we fund a bonus pool" if, as you're saying, the decision                11:45

3     was already made --                                                     11:45

4           A.    Because this --                                             11:45

5           Q.    -- let me finish -- the decision was already                11:45

6     made two weeks before?                                                  11:45

7           A.    This group didn't understand the mechanics of               11:45

8     how the bonus plan funded and how it was allocated.                     11:45

9           Q.    Did you ever put in writing to anyone that                  11:45

10    there was already a decision by Mr. Musk to fund the                    11:45

11    bonus pool for the 2022 fiscal year?                                    11:45

12          A.    No, that's not what my job was.                             11:46

13          Q.    All right.    Let's take a short break.                     11:46

14                     THE VIDEOGRAPHER:       Going off the record.          11:46

15    The time is 11:46.                                                      11:46

16                     (Recess from 11:46 a.m. to 12:06 p.m.)                 12:06

17                     THE VIDEOGRAPHER:       Back on the record.            12:06

18    This marks the beginning of media unit No. 3.              The time     12:06

19    is 12:06.                                                               12:06

20          Q.    (BY MR. MECKLEY)     All right.     Let's look at the       12:06

21    next exhibit, Mr. Schobinger.                                           12:06

22                     (Schobinger Exhibit 19 marked.)                        12:06

23                     THE REPORTER:     No. 19.                              12:06

24          Q.    (BY MR. MECKLEY)     Okay.    Exhibit 19 is --              12:06

25    appears to be an invite that you sent to N. Koutoulas on                12:06

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1     at any time?                                                                12:13

2             A.   Not that I recall.                                             12:13

3             Q.   We had referenced the January 5th meeting with                 12:13

4     Elon Musk and other people that you attended.                  Remember     12:13

5     that?                                                                       12:13

6             A.   Yes.                                                           12:13

7             Q.   And was Lindsay Chapman at that meeting as                     12:13

8     well?                                                                       12:13

9             A.   I -- I think she was, but I can't be for                       12:14

10    certain.                                                                    12:14

11            Q.   Okay.                                                          12:14

12                         (Schobinger Exhibit 21 marked.)                        12:14

13                         THE REPORTER:     No. 21.                              12:14

14            Q.   (BY MR. MECKLEY)        Exhibit 21 is an email from            12:14

15    you to Lindsay Chapman and Yabre Kompaore, Nikki Sommer,                    12:14

16    and Lauren Wegman, January 6th, 2023.             The subject is            12:14

17    "FY22 PBP."                                                                 12:14

18            A.   Okay.                                                          12:14

19            Q.   Who was Nikki Sommer?                                          12:14

20            A.   She's another one of the HR business partners.                 12:14

21            Q.   For what group?                                                12:14

22            A.   I don't recall.                                                12:14

23            Q.   And is this an email that you sent to these                    12:15

24    folks on January 6th?                                                       12:15

25            A.   It appears to be.                                              12:15

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1     all-hands meetings that you attended in 2022, did you                       12:19

2     ever take any notes of those meetings, what was being                       12:19

3     said?                                                                       12:19

4             A.   No.                                                            12:19

5             Q.   Did you ever, you know, hold up your phone and                 12:19

6     do your own recording of what was said during those                         12:19

7     meetings where you were videoing the video?                                 12:19

8             A.   No, because if I needed to go back and                         12:19

9     reference something, I could go back and watch the                          12:19

10    replays.      There was no reason for me to do that.                        12:19

11            Q.   Okay.     Great.                                               12:19

12                         (Schobinger Exhibit 22 marked.)                        12:19

13                         THE REPORTER:     22.                                  12:19

14            Q.   (BY MR. MECKLEY)        All right.    So Exhibit 22 is         12:19

15    a series of emails between you and Lindsay Chapman that                     12:19

16    start on February 13, 2023, and kind of continue through                    12:20

17    February 23, 2023.         Subject is "PBP."                                12:20

18            A.   Okay.                                                          12:20

19            Q.   So are these emails you and Lindsay sent back                  12:20

20    and forth to one another?                                                   12:20

21            A.   They appear to be, yes.                                        12:20

22            Q.   All right.     So in the first one chronologically             12:20

23    on February 13 at 8:20, you wrote to her and said that                      12:20

24    you were thinking of the best way to provide her with a                     12:20

25    summary of how the PBP plan works and ending -- and                         12:20

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1     ended up leveraging the white paper that you started on                   12:20

2     the FY22 PBP topic.                                                       12:20

3                        Do you see that?                                       12:20

4           A.   I do.                                                          12:20

5           Q.   So you created a white paper on the performance                12:20

6     bonus?                                                                    12:20

7           A.   The white paper was just -- they didn't --                     12:20

8     Lindsay didn't understand how the bonus plan worked.                      12:20

9                        So there was a simple document that was                12:20

10    created to -- to -- it was sort of a primer to walk her                   12:21

11    through like how -- how the funding works, what the                       12:21

12    metrics are, and what the allocation process looks like.                  12:21

13          Q.   So you -- I'm just asking:         You used the phrase         12:21

14    "white paper."       What do you mean by that?       What's               12:21

15    your --                                                                   12:21

16          A.   It's just a document.        It's a Google document.           12:21

17          Q.   Well, is a white paper like a memo?                            12:21

18          A.   No, it's a Google document.                                    12:21

19          Q.   So you have no understanding of what the phrase                12:21

20    "white paper" means in the context of business or                         12:21

21    anything like that?                                                       12:21

22          A.   I don't think I understand your question.                      12:21

23          Q.   Right.     Well, you used the phrase "white                    12:21

24    paper"; and I'm asking:        What does that mean?                       12:21

25          A.   Correct.     And in this case all it simply means              12:21

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1           A.    He was the -- over FP&A.                                       12:23

2           Q.    Did he have some job title that you were aware                 12:23

3     of?                                                                        12:23

4           A.    I -- I think it was F -- no, VP of FP&A, I                     12:23

5     think.                                                                     12:23

6           Q.    Okay.     All right.    So then the next sentence              12:23

7     that you wrote to Ms. Chapman on February 13, you say,                     12:23

8     quote, "This is why I believe exercising discretion and                    12:23

9     not paying a bonus would be prudent despite the safe                       12:23

10    harbor nature of the plan.          The optics of paying are not           12:23

11    good," close quote.                                                        12:23

12                        Do you see that?                                       12:23

13          A.    I do.                                                          12:23

14          Q.    All right.     Was that a true statement when you              12:23

15    wrote it?                                                                  12:23

16          A.    No, that was my opinion.        I was asked for an             12:23

17    opinion and I gave an opinion but the -- my opinion is                     12:23

18    not the one that matters.          I'm not the decision-maker.             12:23

19    That decision to pay it was already made.                                  12:23

20          Q.    So you were telling Ms. Chapman, in February of                12:23

21    2023, that your opinion was that discretion should be                      12:24

22    exercised to not pay a bonus; is that correct?                             12:24

23          A.    No -- partially correct.        I told her -- when we          12:24

24    had conversations, verbal conversations, we talked about                   12:24

25    the -- how the plan was designed and that it had that,                     12:24

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1     So you got to put it all in context and together and                      12:25

2     just -- you know, so you picked one document.                             12:25

3                        What you didn't pick is all the other                  12:25

4     documents where we did have those conversations.                          12:25

5           Q.   So is it your understanding that you provided                  12:25

6     some written communication to Ms. Chapman either in an                    12:25

7     email or a message or some other way where you expressed                  12:26

8     your opinion is to actually pay employees bonuses?                Is      12:26

9     that your testimony?                                                      12:26

10          A.   We had those -- we had verbal conversations.                   12:26

11          Q.   Okay.     That's not my question.                              12:26

12                       My question is:    Did you ever communicate            12:26

13    to Ms. Chapman in a written form, whether it be email,                    12:26

14    Slack message, direct message, et cetera, that you                        12:26

15    recommended employees should be paid a bonus?                             12:26

16          A.   Not that I recall in a written format.                         12:26

17          Q.   Okay.     But in the only written formats that we              12:26

18    have, you communicated to her your opinion that                           12:26

19    discretion should be exercised and a bonus not be paid,                   12:26

20    correct?                                                                  12:26

21          A.   If you want to -- if you're referring to                       12:26

22    this -- did I say that?        Yes, I did.                                12:26

23          Q.   Okay.     Can you tell me why it would be that you             12:26

24    would communicate to her in writing a recommendation not                  12:26

25    to pay the bonus and, yet, verbally you would tell her:                   12:27

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1     the bonus plan.                                                         12:29

2           Q.   And at this point when you were telling                      12:29

3     Ms. Chapman you thought discretion should be exercised                  12:29

4     to not pay a bonus, what was your position again?                       12:29

5           A.   I led the compensation team.                                 12:30

6           Q.   Okay.   So you were the head of compensation at              12:30

7     that point?                                                             12:30

8           A.   Yeah, de facto.    It's not something that I                 12:30

9     asked for.    It's something that was the result of a --                12:30

10    cutting all -- eliminating all the jobs.                                12:30

11          Q.   Okay.   So Ms. Chapman was asking for your                   12:30

12    opinion as the head of compensation as to what should be                12:30

13    done with the bonus; and this is the recommendation you                 12:30

14    gave her in writing, correct?                                           12:30

15          A.   No, I can't -- I wouldn't characterize it if                 12:30

16    she was asking me that question as -- as -- in my role                  12:30

17    capacity or if she was just asking that in general.              You    12:30

18    would have to ask her that.                                             12:30

19          Q.   But you didn't write "in my personal opinion                 12:30

20    this is why" in this email, did you?                                    12:30

21          A.   Well, I didn't use the -- if you're saying like              12:30

22    the -- did I use the adjective "personal" to describe                   12:30

23    this is my personal view, no, but I did say this is -- I                12:30

24    think I'm pretty emphatic there that this is what I                     12:31

25    believe if you're asking me for a contrarian opinion.                   12:31

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1            Q.    Uh-huh.     Is there anything in writing where --              12:31

2     that you recall Ms. Chapman said:            Please give me a               12:31

3     contrarian opinion, using that phrase?                                      12:31

4            A.    No, this is just conversations that we had.                    12:31

5            Q.    So your testimony is that Ms. Chapman in a                     12:31

6     verbal conversation said:            I want you to give me a                12:31

7     contrarian opinion?                                                         12:31

8            A.    I don't know if she used those specific words,                 12:31

9     but we spoke about the pros and cons of doing it either                     12:31

10    way.                                                                        12:31

11           Q.    And you'll see in Exhibit 22 there's that link                 12:31

12    there.      Do you see that?                                                12:31

13           A.    I do.                                                          12:31

14           Q.    And that was the link to your white paper,                     12:31

15    correct?                                                                    12:31

16           A.    I assume that it is, yes.                                      12:31

17                         (Schobinger Exhibit 23 marked.)                        12:32

18                         THE REPORTER:     No. 23.                              12:32

19           Q.    (BY MR. MECKLEY)        All right.   Mr. Schobinger,           12:32

20    Exhibit 23 is a multipage document, "Subject:                  FY22         12:32

21    PBP"; and it says the driver of this is Mark Schobinger.                    12:32

22           A.    Okay.                                                          12:32

23           Q.    Is this the white paper that you created                       12:32

24    regarding the bonus that --                                                 12:32

25           A.    It is.                                                         12:32

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1           Q.   -- you've been referring to?                                 12:32

2           A.   Yes.                                                         12:32

3           Q.   Okay.   And this is a document that you shared               12:32

4     with Ms. Chapman and Lauren Wegman and Yabre Kompaore                   12:32

5     and other folks; is that right?                                         12:32

6           A.   Yes.                                                         12:32

7           Q.   All right.    And it's true you never sent this              12:32

8     document to Elon Musk, correct?                                         12:32

9           A.   No, not that I recall.                                       12:32

10          Q.   My statement is true that you never sent this                12:32

11    to Elon Musk; is that correct?                                          12:32

12          A.   To the best of my recollection, that's correct.              12:32

13          Q.   Okay.   And in the second full paragraph of this             12:33

14    document that you were creating to, you know, be a                      12:33

15    primer and a narrative regarding the bonus plan, you                    12:33

16    mentioned to folks that "in the event of unforeseen and                 12:33

17    extraordinary circumstances, discretion can be exercised                12:33

18    to determine a PBP pool amount based on an alternative                  12:33

19    formula and/or elect not to fund any PBP pool for the                   12:33

20    plan year," correct?                                                    12:33

21          A.   Yes.                                                         12:33

22          Q.   And you got that language from the actual PBP                12:33

23    document, correct?                                                      12:33

24          A.   Correct.                                                     12:33

25          Q.   Now, take a look at Page 2 of your white paper.              12:33

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1           A.   (Witness complies.)                                            12:33

2           Q.   At the top you say "Issue"; and then you say,                  12:33

3     quote, "There are two decisions to make concerning the                    12:33

4     FY22 PBP."                                                                12:34

5                      The first, "Should the plan be funded?"                  12:34

6                      "No. 2, If funded, how should the PBP be                 12:34

7     allocated to employees?"                                                  12:34

8                      So you were telling folks that these were                12:34

9     the two decisions to make, correct?                                       12:34

10          A.   This was a comprehensive document that was put                 12:34

11    together to describe the process to go through.                           12:34

12                     So although, yes, it's saying choices, the               12:34

13    choice to fund had actually already been made.                            12:34

14          Q.   And, again, you're saying the choice to fund                   12:34

15    was January 5th, that one statement by Elon that if                       12:34

16    someone's earned a bonus, it's okay to pay it; is that                    12:34

17    right?                                                                    12:34

18          A.   No.   What I'm saying is -- you got to put it                  12:34

19    all together.     If you go back to the consent that the                  12:34

20    board approved and the email that Sean Edgett sent --                     12:34

21          Q.   Uh-huh.                                                        12:34

22          A.   -- and then in concert with that, Elon's, to                   12:34

23    me, acknowledgment that it was earned --                                  12:35

24          Q.   Uh-huh.                                                        12:35

25          A.   -- that's how you get to that decision that it                 12:35

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1     was made.                                                                 12:35

2           Q.    Oh.                                                           12:35

3           A.    The only thing that was lacking was having a                  12:35

4     concrete email that said:        Yes, I approve.      Go allocate         12:35

5     out the -- whatever the -- I don't know what the numbers                  12:35

6     were -- the several millions of dollars on the PBP.                       12:35

7                        And that's what we kept pressing for.                  12:35

8           Q.    So take a look at Page 1 of Exhibit 23 where it               12:35

9     says -- and this is directly from the plan --                             12:35

10    "Notwithstanding the foregoing, solely in the event of                    12:35

11    unforeseen and extraordinary circumstances, discretion                    12:35

12    can be exercised to determine the PBP pool amount based                   12:35

13    on alternative formula and/or elect not to fund any PBP                   12:35

14    pool for the plan year."                                                  12:35

15                       You see that, correct?                                 12:35

16          A.    Yes.                                                          12:35

17          Q.    Right.    And there's not a specific timeline on              12:35

18    which that decision must be made, correct?            It could be         12:35

19    made at any point?                                                        12:35

20          A.    I suppose, yes.                                               12:35

21          Q.    And it could be made before the end of the                    12:36

22    fiscal year, correct?                                                     12:36

23          A.    Yes.                                                          12:36

24          Q.    It could be made after the end of the fiscal                  12:36

25    year as well, right?                                                      12:36

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1           A.   I suppose.                                                    12:36

2           Q.   At any point before March of the following year               12:36

3     when bonuses get paid, this decision could be made to                    12:36

4     elect not to fund the plan, correct?                                     12:36

5           A.   Yes.                                                          12:36

6           Q.   So after October 27, 2022, when Mr. Musk                      12:36

7     acquires the company, he could still make this decision                  12:36

8     to not fund the plan, correct?                                           12:36

9           A.   He could have but that's not what was being                   12:36

10    messaged and that's certainly what -- not what finance                   12:36

11    was doing when they continue to accrue the bonus.                        12:36

12          Q.   Not -- that wasn't my question.                               12:36

13                      My question was:      After he acquired the            12:36

14    company, he had the discretion under the plan to elect                   12:36

15    not to fund it; is that correct?                                         12:36

16          A.   Yes.                                                          12:36

17          Q.   All right.    And, then, so after he acquires the             12:36

18    company, the only communication you ever had with him                    12:37

19    was on January 5th where he said:          If people have earned         12:37

20    a bonus, he was okay with paying it; is that right?                      12:37

21          A.   With him, correct, yes.                                       12:37

22          Q.   And you never had a communication from him                    12:37

23    saying:    I have elected to fund the PBP plan for the                   12:37

24    year, correct?                                                           12:37

25          A.   No, that's what we were -- that's what we kept                12:37

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1     pressing to get the authorization to pay it.                               12:37

2            Q.   All right.                                                     12:37

3                         (Schobinger Exhibit 24 marked.)                        12:37

4                         THE WITNESS:     You okay?                             12:37

5                         THE REPORTER:     Yes.    No. 24.                      12:38

6            Q.   (BY MR. MECKLEY)        All right.     So Exhibit 24 is        12:38

7     a series of messages between you and Lauren Wegman in                      12:38

8     January [sic] 16 of 2023 and also someone named Kerrin                     12:38

9     Puente.                                                                    12:38

10           A.   Okay.                                                          12:38

11           Q.   Who was Kerrin Puente?                                         12:38

12           A.   I don't recall.                                                12:38

13           Q.   Okay.     So these were messages you had sent back             12:38

14    and forth with Ms. Wegman and Ms. Puente; is that right?                   12:38

15           A.   Yes.                                                           12:38

16           Q.   All right.     So your message in the middle of                12:38

17    this page, it looks like 11:23 a.m. on the 16th of                         12:38

18    February.                                                                  12:38

19                        You say, quote, "Hi Lauren.         I'm attempting     12:38

20    to prepare for an unknown decision regarding the FY22                      12:38

21    PBP.    As I shared, there has been no decision either way                 12:38

22    on the disposition.        I do have a concern on our ability              12:39

23    to execute if the decision is we will fund and pay it                      12:39

24    out because it will be a 100 percent manual effort."                       12:39

25                        Do you see that?                                       12:39

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1             A.   I do.                                                          12:39

2             Q.   All right.     Why were you telling Ms. Wegman                 12:39

3     that there had been no decision either way on the                           12:39

4     disposition of the bonus?                                                   12:39

5             A.   What I was actually referring to was getting                   12:39

6     the -- the final email approving the final step on the                      12:39

7     allocation process and this entire exchange is:                 And         12:39

8     once we get that, how do we -- how are we going to do                       12:39

9     that?                                                                       12:39

10                         Because we -- at that point we no longer               12:39

11    had a team.        Ordinarily we would have done this through               12:39

12    a tool, but we didn't have the resources anymore to run                     12:39

13    the tool.                                                                   12:39

14                         So it was a conversation to sort of figure             12:39

15    out:     What is that going to look like?                                   12:39

16            Q.   All right.     In the next sentence, you say, I                12:40

17    "have a concern on our ability to execute if the                            12:40

18    decision is we will fund."                                                  12:40

19                         Do you see that?                                       12:40

20            A.   I do.                                                          12:40

21            Q.   Okay.     So you were telling Ms. Wegman that it               12:40

22    was conditional unknown whether or not you will fund;                       12:40

23    isn't that true?                                                            12:40

24            A.   No.     I -- I wouldn't get hung up on the                     12:40

25    funding.      This is -- this -- again, it was -- I may have                12:40

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1     kept using the word "funding" but that -- again, I feel                       12:40

2     like that that decision was already made.                This was more        12:40

3     about allocation.                                                             12:40

4             Q.     Uh-huh.    Well, why didn't you write Ms. Wegman               12:40

5     and just tell her about how -- what we need to do to                          12:40

6     determine allocation because the decision to fund has                         12:40

7     already been made?                                                            12:40

8             A.     Because I -- the -- we need a formal approval                  12:40

9     to actually go spend the millions of dollars.                    You can't    12:40

10    just -- I can't -- I didn't have that authority to do                         12:40

11    that.        So that's why I didn't write it in that way.                     12:40

12            Q.     Uh-huh.    And why didn't you tell her:            I just      12:41

13    need the formal approval in writing because we've                             12:41

14    already decided to fund?            I just need that in writing?              12:41

15            A.     I don't know why I didn't say it in that way.                  12:41

16            Q.     There never was any written approval to fund                   12:41

17    the performance bonus plan, correct?                                          12:41

18            A.     I -- well, I would say that there was in that                  12:41

19    July-August time frame when the committee approved                            12:41

20    funding at 50 percent.                                                        12:41

21                        What -- what we did not have was a final                  12:41

22    approval that said:           Yes, now it's okay to release those             12:41

23    funds.                                                                        12:41

24            Q.     Well, let's characterize -- you had said in                    12:41

25    multiple of these communications that Elon Musk was the                       12:41

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1     sole director and he had the exclusive authority to                     12:41

2     decide whether to fund or not, correct?                                 12:41

3           A.   Okay.                                                        12:41

4           Q.   Isn't that true?                                             12:41

5           A.   Yes.                                                         12:42

6           Q.   And you never received any written approval                  12:42

7     from Elon Musk to fund the bonus plan for '22, correct?                 12:42

8           A.   Correct.                                                     12:42

9           Q.   All right.    And at some point you learned that             12:42

10    the bonus plan would not be funded, correct?                            12:42

11          A.   Yes.                                                         12:42

12          Q.   And how did you learn that?                                  12:42

13          A.   I don't recall specifically.                                 12:42

14          Q.   And from whom did you learn that the bonus plan              12:42

15    would not be funded?                                                    12:42

16          A.   I don't recall specifically.       It may have been          12:42

17    Lindsay but I don't -- I don't recall.                                  12:42

18          Q.   Are you able to sort of rough time estimate,                 12:42

19    you know, when you learned that?                                        12:42

20          A.   Late March maybe.                                            12:42

21          Q.   Okay.   And was that something you learned in an             12:42

22    email or a phone conversation?                                          12:42

23          A.   I don't recall.                                              12:42

24          Q.   All right.    And what were you told around the              12:42

25    fact that the bonus plan would not be funded?                           12:43

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1           A.   I think I recall just being told that Elon                     12:43

2      decided not to pay bonuses.                                              12:43

3           Q.   But you don't recall who told you that?                        12:43

4           A.   No.                                                            12:43

5           Q.   And do you recall any other context around that                12:43

6      message that he had decided not to fund the plan?                        12:43

7           A.   Not that I recall, no.                                         12:43

8           Q.   All right.                                                     12:43

9                        (Schobinger Exhibit 25 marked.)                        12:43

10                       THE REPORTER:     No. 25.                              12:43

11          Q.   (BY MR. MECKLEY)        All right.   So Exhibit 25 is          12:43

12     a series of direct messages between you and Stacey Conti                 12:43

13     on March 23, 2023.                                                       12:43

14          A.   Okay.                                                          12:44

15          Q.   And these are messages you sent back and forth                 12:44

16     with Ms. Conti, correct?                                                 12:44

17          A.   It appears to be, yes.                                         12:44

18          Q.   And what was Stacy Conti's position at this                    12:44

19     time with the company?                                                   12:44

20          A.   I -- I don't recall specific -- I know what her                12:44

21     role was prior to this but I -- I don't know                             12:44

22     specifically like -- I couldn't characterize her role                    12:44

23     specifically at this point in time.                                      12:44

24          Q.   What was your understanding of her prior role?                 12:44

25          A.   She worked in corporate development.                           12:44

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1           Q.     Okay.     And what was your understanding of what              12:44

2      her role in corporate development was?                                     12:44

3           A.     She worked on acquisitions, among other things.                12:44

4           Q.     Okay.     Do you know whether she worked on the                12:44

5      acquisition of Twitter by Elon Musk?                                       12:44

6           A.     Yes.                                                           12:45

7           Q.     Did you ever talk with her about that?                         12:45

8           A.     Yes.                                                           12:45

9           Q.     And what did you talk with her about on that                   12:45

10     subject?                                                                   12:45

11          A.     She asked for various documents and                            12:45

12     explanations of how plans work, things of that nature.                     12:45

13          Q.     Okay.     All right.    So on the first page of                12:45

14     Exhibit 25 -- let me make sure it's the first page.                        12:45

15     Sorry.     Yeah, it is on the first page.                                  12:45

16                         So it looks like Ms. Conti wrote to you and            12:45

17     says, "Do we know the details of the BOD approved PBP                      12:45

18     targets this year?        Lindsay and Jared want to add more               12:45

19     to the PBP announcement such as," and then she gives a                     12:45

20     description.                                                               12:45

21                         Do you see that?                                       12:45

22          A.     I do.                                                          12:45

23          Q.     And do you know whether there was an                           12:46

24     announcement regarding the performance bonus to -- made                    12:46

25     to employees?                                                              12:46

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1           A.     Yeah, I'm reading through to make sure I                       12:46

2      understand the context.                                                    12:46

3           Q.     Sure.     Take your time.                                      12:46

4           A.     Okay.     Yeah, I think she's -- I think I                     12:46

5      understand where this starts off where she's asking                        12:46

6      about the FY22 bonus plan.                                                 12:46

7                          So -- I'm sorry -- could you repeat your               12:46

8      question?                                                                  12:46

9           Q.     Sure.     She wrote to you:     "Lindsay and Jared             12:46

10     want to add more to the PBP announcement such as"; and                     12:46

11     then there's this quoted language which includes                           12:46

12     "Unfortunately the company only generated $X and,                          12:46

13     therefore, the FY22 PBP will not be funded."                               12:46

14                         Do you see that?                                       12:47

15          A.     I do.                                                          12:47

16          Q.     All right.     So was there, to your knowledge, a              12:47

17     communication made that the PBP would not be funded?                       12:47

18          A.     I -- I don't recall specifically, but I assume                 12:47

19     that there would have been.                                                12:47

20          Q.     You don't know either way; is that fair?                       12:47

21          A.     Correct.                                                       12:47

22          Q.     All right.     So if you could take a look at the              12:47

23     next page of your messages with Ms. Conti, specifically                    12:47

24     the message you sent her 3:45 a.m., the one that begins                    12:47

25     "Okay."                                                                    12:47

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1      Was the sentence you wrote to her accurate?                                12:50

2                          Could you answer that question?                        12:50

3           A.     Which sentence?                                                12:50

4           Q.     The one I quoted last, which says, "What most                  12:50

5      employees gloss over and don't read is that the plan is                    12:50

6      discretionary, meaning it can also pay more or nothing                     12:50

7      at all."                                                                   12:50

8                          Was that accurate?                                     12:50

9           A.     Yeah, that's a gen -- I was making a                           12:50

10     generalization.        So, yes, that would be somewhat                     12:50

11     accurate.                                                                  12:50

12          Q.     Okay.     And then later on in that paragraph you              12:50

13     say "it," which I assume is profitability, "was so far                     12:50

14     under expectations on the low end that discretion (which                   12:50

15     is permitted under the plan) was applied and the plan                      12:50

16     was not funded."                                                           12:50

17                         Do you see that?                                       12:50

18          A.     No.     Can you --                                             12:50

19          Q.     It's the last sentence in that message to                      12:50

20     Ms. Conti.                                                                 12:50

21          A.     Oh, okay.     I'm there.                                       12:50

22          Q.     Yeah.     So was that accurate what you wrote to               12:51

23     her, that discretion, which is permitted under the plan,                   12:51

24     was applied and the plan was not funded?                                   12:51

25          A.     That would be accurate.                                        12:51

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1      responsibilities over to me.                                             15:29

2                        And one of the things that we reviewed was             15:29

3      the -- the severance calculation.         And so I reviewed it           15:29

4      at their request; and then in one of those daily standup                 15:30

5      calls, they asked if I reviewed it.                                      15:30

6                        And I -- I said:     Yes, I did.       And the --      15:30

7      the severance calculations that appeared in that                         15:30

8      document did not match the severance matrix that -- that                 15:30

9      we knew about.                                                           15:30

10                       And I had asked the team:       What is the            15:30

11     reason for the difference in it?                                         15:30

12                       And the explanation I was given was because            15:30

13     that's what Elon wanted to pay.                                          15:30

14          Q.   And who said that?                                             15:30

15          A.   My recollection is Candace made that comment in                15:30

16     the meeting.      I don't remember Candace's last name.                  15:30

17          Q.   Okay.     Okay.     Did anyone else say anything               15:30

18     about that topic in that meeting?                                        15:30

19          A.   No, I think it was just like the -- everyone                   15:30

20     wanted to move on.                                                       15:30

21          Q.   So other than Candace making that statement,                   15:30

22     you don't recall anything else that was said?                            15:30

23          A.   No.                                                            15:30

24          Q.   All right.        You resigned your employment with            15:30

25     Twitter; is that correct?                                                15:31

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1           A.    I did.                                                         15:31

2           Q.    It was a voluntary quit of your job?                           15:31

3           A.    Yes.                                                           15:31

4           Q.    And based on your understanding of the                         15:31

5      severance matrix that you were familiar with, you didn't                  15:31

6      expect to receive any severance?                                          15:31

7           A.    I did not.                                                     15:31

8           Q.    Okay.     And you're not bringing any claim for                15:31

9      severance; is that correct?                                               15:31

10          A.    Correct.                                                       15:31

11          Q.    And that's -- your understanding under the, you                15:31

12     know, severance matrix, as you understood it, employees                   15:31

13     who resigned weren't eligible for severance?                              15:31

14          A.    That's correct.                                                15:31

15          Q.    Okay.     Let's take a quick break.       I think we're        15:31

16     getting closer to the end.                                                15:31

17                        THE VIDEOGRAPHER:     Going off the record.            15:31

18     The time is 3:31.                                                         15:31

19                        (Recess from 3:31 p.m. to 3:44 p.m.)                   15:44

20                        THE VIDEOGRAPHER:     Back on the record.              15:44

21     This marks the beginning of media unit No. 6.                The time     15:44

22     is 3:44.                                                                  15:44

23          Q.    (BY MR. MECKLEY)      All right.     Mr. Schobinger,           15:44

24     in order for an employee to receive severance under the                   15:44

25     matrix you created, an employee would have to sign a                      15:44

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1           A.   Yes.                                                          16:12

2           Q.   Okay.    All right.    So in your lawsuit in                  16:12

3      Federal Court, do you understand whether that is on                     16:12

4      behalf of yourself or other people?                                     16:12

5           A.   On mine or the one on Monday that --                          16:12

6           Q.   Yeah, I'm not asking about the one on Monday.                 16:12

7           A.   Okay.                                                         16:12

8           Q.   I'm asking about -- you under -- well, you                    16:12

9      understand you have a lawsuit that's filed with you as                  16:12

10     the plaintiff that's pending in Federal Court in San                    16:12

11     Francisco?                                                              16:12

12          A.   Yes.                                                          16:12

13          Q.   Do you understand that?                                       16:12

14          A.   Yes, I do.                                                    16:12

15          Q.   All right.     Do you understand that that                    16:12

16     lawsuit -- is it on behalf of yourself or on behalf of                  16:12

17     other people?                                                           16:12

18          A.   Both.                                                         16:12

19          Q.   Okay.    And who are the other people that you                16:12

20     understand your lawsuit is on behalf of?                                16:12

21          A.   Any employee similar -- similarly situated to                 16:12

22     myself that was employed when the bonus should have paid                16:12

23     but did not pay.                                                        16:12

24          Q.   So let me write that down.        The date the bonus          16:13

25     should have been paid, in your opinion -- but not -- was                16:13

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1      March of 2023?                                                             16:13

2           A.     Would have been by the end of March at the                     16:13

3      absolute latest, correct.                                                  16:13

4           Q.     Okay.     So the end of March.                                 16:13

5                          So the people that you understand that                 16:13

6      you're seeking to represent are people who were employed                   16:13

7      with Twitter at the end of March of 2023 and had not                       16:13

8      been paid a bonus?                                                         16:13

9           A.     Correct.                                                       16:13

10          Q.     Okay.     So that wouldn't include people who were             16:13

11     terminated or laid off before that date, correct?                          16:13

12          A.     Correct.                                                       16:13

13          Q.     All right.     Let's see.     Are you unable to come           16:13

14     to San Francisco?                                                          16:13

15          A.     For?                                                           16:13

16          Q.     Anything.     I mean, I know you weren't able to               16:13

17     come for your deposition.         So --                                    16:13

18          A.     Yeah.                                                          16:13

19          Q.     You weren't able to come to San Francisco for                  16:13

20     your deposition, correct?                                                  16:14

21          A.     Correct.                                                       16:14

22          Q.     Are you able to come to San Francisco to appear                16:14

23     in court?                                                                  16:14

24          A.     Yes.                                                           16:14

25          Q.     Okay.     And can you explain like the distinction             16:14

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1                            REPORTER'S CERTIFICATION
2
3           I, SHARON ROSS, Certified Shorthand Reporter, do
       hereby certify:
4
            That on Friday, August 2, 2024, at 9:17 a.m.,
5      appeared before me MARK SCHOBINGER, the witness whose
       deposition is contained herein; that prior to being
6      examined was by me duly sworn;
7           That the deposition was taken down by me in machine
       shorthand and was thereafter reduced to typewriting;
8      that the foregoing represents, to the best of my
       ability, a true and correct transcript of the
 9     proceedings had in the foregoing matter.
10          That a request for an opportunity to review and
       make changes to this transcript:
11
                   Was made by the deponent or a party (and/or
12                 their attorney) prior to the completion of
                   the deposition.
13            X    Was not made by the deponent or a party
                   (and/or their attorney) prior to the
14                 completion of the deposition.
                   Was waived.
15
16          I further certify that I am not an attorney for any
       of the parties hereto, nor in any way concerned with the
17     cause.
18          Dated August 5, 2024.
19
20
21                              <%25421,Signature%>
                                SHARON ROSS, HI CSR NO. 432,
22                              TX CSR NO. 1961, CRR, RMR, CRC
                                Realtime Systems Administrator
23
24
25

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